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 1                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
 2
         United States of America,       ) Criminal Action
 3                                       ) No. 19-CR-125
                             Plaintiff, )
 4                                       ) JURY TRIAL
         vs.                             ) Day 7 - Morning
 5                                       )
         Gregory B. Craig,               ) Washington, DC
 6                                       ) August 20, 2019
                             Defendant. ) Time: 9:30 a.m.
 7   ___________________________________________________________

 8                      TRANSCRIPT OF JURY TRIAL
                        DAY 7 - MORNING SESSION
 9                             HELD BEFORE
                THE HONORABLE JUDGE AMY BERMAN JACKSON
10                    UNITED STATES DISTRICT JUDGE
     ____________________________________________________________
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 1                 THE COURTROOM DEPUTY:      Good morning, Your Honor.

 2                 This morning we have Criminal Case Number 19-125, the

 3      United States of America v. Gregory B. Craig.          Mr. Craig is

 4      present and in the courtroom, Your Honor.

 5                 Will counsel please approach the lectern, identify

 6      yourself and your colleagues for the record.

 7                 MR. CAMPOAMOR-SANCHEZ:       Good morning, Your Honor.

 8                 Molly Gaston, Jason McCullough, and

 9      Fernando Campoamor for the United States.         And also with us is

10      our legal specialist, Amanda Rohde.

11                 THE COURT:    All right.     And are you ready to proceed

12      when -- as soon as I ask you to bring your witness in?

13                 MR. CAMPOAMOR-SANCHEZ:       Yes.

14                 THE COURT:    All right.

15                 MR. MURPHY:     Good morning, Your Honor.

16                 William Murphy for Mr. Craig, along with

17      Mr. William Taylor, Adam Abelson, Paula Junghans, and

18      Ezra Marcus.

19                 THE COURT:    Good morning.

20                 MR. MURPHY:     Your Honor, I do have one brief matter

21      to address the Court.

22                 THE COURT:    All right.

23                 MR. MURPHY:     I feel like I owe you an apology and an

24      explanation.    We had a discussion at the bench about my

25      questions of Mr. Kedem, and particularly about a gift that he
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 1      had received at a banquet.        I wanted to establish, if I could,

 2      that he had received a particular clock.         And when we talked

 3      about it at the bench, I said to you, "All I want to know is

 4      whether he got the gift."

 5                   And your answer was, "I know what you want.        Go

 6      ahead."

 7                   And then Ms. Gaston interrupted.      And then you said

 8      that you were going to ask one more question and that's it.

 9      Then, when he took the bench -- the Court did ask Mr. Kedem two

10      questions about the banquet, and then you said, "Ask your next

11      question."

12                   And I thought, incorrectly, that you meant I could

13      ask the one question about whether he received a gift of the

14      clock.    I did not intend to violate an order or a directive

15      that the Court had given me.       It's not my practice, it's not

16      the way I practice law.      But, it's obvious to me that you -- I

17      misunderstood your directive.       And I just wanted you to know --

18                   THE COURT:    Well, I think when you said you wanted to

19      ask the question about the clock, there was a paragraph before

20      that where you specified your concern was the date of the

21      dinner.

22                   MR. MURPHY:   Yes.    Right.

23                   THE COURT:    And whether that was the only dinner, or

24      whether there had been some other dinner with gifts and vodka.

25      And that was the point, was establishing the date of the
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 1      celebratory dinner.     And so that was why I asked the question,

 2      to -- over Ms. Gaston's objection, to let that much come in --

 3                 MR. MURPHY:     Right.

 4                 THE COURT:    -- and then move on.      So, clearly --

 5                 MR. MURPHY:     I understand it now, Your Honor.

 6                 THE COURT:    -- if you misunderstood my ruling --

 7                 MR. MURPHY:     I did, Your Honor.

 8                 THE COURT:    -- and --

 9                 MR. MURPHY:     And, to me, the key point about it is,

10      everybody who was at the dinner from the outside received gifts

11      of these kind of clocks and orbs, and they were all sort of

12      designed a particular way.      And I don't know if Mr. Hawker is

13      going to testify about it or not, but he has given interviews

14      in which he describes the one that he received, the one that

15      Mr. Craig received, and, in fact, we've learned that Mr. Kedem

16      also received one.     That was the point.

17                 So -- but I do apologize, Your Honor.

18                 THE COURT:    All right.     Well, I appreciate your

19      apology.   I think that everyone in this courtroom is zealously

20      representing their clients and doing the best they can in the

21      heat of battle.     So, I appreciate it.

22                 MR. MURPHY:     Thank you.

23                 THE COURT:    All right.     Let's call the next

24      witness -- call your witness.

25                 THE COURTROOM DEPUTY:      Jurors first.
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 1                 THE COURT:     Oh, yeah, let's bring the jurors in.

 2                 MR. CAMPOAMOR-SANCHEZ:       Would you like the witness to

 3      resume the stand?

 4                 THE COURT:     Yes, please.

 5                 (Jury enters courtroom.)

 6                 THE COURT:     All right.    And you can be seated.

 7                 Appreciate the fact that all the jurors have

 8      returned, and I know you were all here on time this morning.

 9      Once again, I just want to confirm that everyone has managed to

10      resist researching or communicating about this case over the

11      evening break.    And everyone is nodding at me, so I will take

12      that as a yes.    And we're going to resume with the testimony of

13      the witness who was on the stand yesterday afternoon.

14                 Mr. Hawker, I want to advise you that you're still

15      under oath.

16                 And you may proceed.

17                               JONATHAN HAWKER,

18                         Continued Direct Examination

19      was recalled as a witness and, having been duly sworn, was

20      examined and testified as follows:

21                 MR. CAMPOAMOR-SANCHEZ:       Thank you, Your Honor.

22                              DIRECT EXAMINATION

23      MR. CAMPOAMOR-SANCHEZ:

24      Q.   Good morning, sir.

25      A.   Good morning.
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 1      Q.   If we can have -- I think at the break yesterday, we were

 2      looking -- starting to look at Government's Exhibit 267, which

 3      is in evidence.

 4                    And if we can focus first -- I'll let you have some

 5      time to get there.

 6                    Are you there?

 7      A.   I am.

 8      Q.   Okay.    So, can you explain, just to remind us, with this

 9      email down here, first of all, who were you emailing and what

10      were you doing?

11      A.   Okay.    So, just as a reminder, I arrived on the Saturday.

12      On the Sunday, we all met at the Harvard Club for our

13      discussion about the PR plans and to get an update from

14      Mr. Craig about the report.       And there was a lot of work to be

15      done updating everything on the back of that meeting.

16                    And, so, this is the day after Harvard, when, you

17      know, I'm sending my -- my updates of, you know, everything I

18      could remember from the meeting to Mr. Craig, to Paul Manafort,

19      and Rick Gates.

20      Q.   And -- and I'm sorry.     Did you say Mr. Craig, too?

21      A.   I did.

22      Q.   Okay.

23      A.   He was the first person.

24      Q.   Right.    And can you just -- why did you say, "Please let me

25      have any comments, corrections, or amendments so that I can
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 1      incorporate them into the revisions of the Ministry packs

 2      tomorrow"?

 3      A.     So, at this point, I think I had been working a bit like a

 4      dog.    So, I was bound to have, you know, mistakes and things in

 5      the documents.      And, you know, I -- it's normal for a PR person

 6      to put the documents to, you know, the client in order to make

 7      sure they're right.

 8      Q.     Okay.   And did you send that draft message document to the

 9      people that were here?

10      A.     Yes.    I can't see the attachments.   But I definitely sent

11      the messaging document, yeah.

12      Q.     And we'll look at the next email of the chain.

13                     And that's from Mr. Craig to you, but copying the

14      same other people and adding Mr. Sloan?

15      A.     Yes, that's right.

16      Q.     All right.    What did Mr. Craig express to you in this

17      email?

18      A.     Well, the key thing that sticks in the mind is that he said

19      my messaging was a total whitewash, and that some of it was

20      flatly wrong.       And if I think the report says that, we have

21      real problems.

22      Q.     Okay.   And were you trying, sir, to whitewash the report?

23      A.     No.    I was just trying to do my job, you know, as a PR

24      consultant to Ukraine.

25      Q.     And did you respond to Mr. Craig?
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 1      A.   I did respond.

 2      Q.   Can we please take a look at the top email.

 3                  And what did you tell Mr. Craig in response to his

 4      comments to you?

 5      A.   Well, you know, I said, That's fine.        You know, let's speak

 6      later.

 7                  And, you know, I said that, obviously, I don't want

 8      to give a false impression of their work, but that, you know, I

 9      don't think anyone would see the report as a whitewash.         And I

10      also pointed out that this is a messaging document, and a

11      messaging document isn't something that you share, you know, as

12      a document with third parties; it's to inform discussion, you

13      know.    But, if there's anything wrong, then I would have sorted

14      it out.

15      Q.   And did you ask Mr. Craig something?

16      A.   I asked him to help me and -- well, just as I'd asked, you

17      know, in the first email, "Can I have your comments,

18      corrections, and amendments?"       I said, "Look, it would be

19      really helpful if a member of your team could outline what's

20      wrong so that I can sort them out."

21      Q.   Did you also address the specific example he gave you in

22      his comment below?

23      A.   It looks like it, yes.

24      Q.   What did you tell him?

25      A.   Well, I have to read it.      But, "On the specific point you
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 1      raise, I intend to state that the record shows she produced no

 2      evidence to support her allegations of political persecution."

 3                   Point 4 in the top line messaging.       "I'll review the

 4      document again to see where I said that she offered no evidence

 5      in support of her defense.       That is, obviously, an error."

 6                   It clearly is.    It's a fairly big one, actually.

 7      Q.   Okay.    And did Mr. Craig actually take you up on your offer

 8      to provide comments and corrections to your draft messaging?

 9      A.   Yeah, he did.    He came back with an email with, you know, a

10      lot of corrections.

11      Q.   Okay.    And we'll look at Government's Exhibit 268.

12                   THE COURTROOM DEPUTY:     Already in evidence?

13                   MR. CAMPOAMOR-SANCHEZ:     Sorry.   Already in evidence.

14      MR. CAMPOAMOR-SANCHEZ:

15      Q.   And, sir, what are we looking at, at the bottom of 268?

16      A.   This is an email sent by Catherine Whitney, but on behalf

17      of Greg.     And he adds lines, you know, 13 points of correction.

18      Q.   And these 13 points of correction -- well, what do you say

19      in response, once you got the comments?

20      A.   I said, "That's helpful.      Many thanks."

21                   And that was the full content of the email.

22      Q.   Can we look at the response?

23                   And what did you do with the comments that you

24      received from Mr. Craig?

25      A.   I actioned most of the them.       And then I had a couple of
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 1      questions, so I tried to speak to Greg.

 2                   MR. CAMPOAMOR-SANCHEZ:     Let's look at Government's

 3      Exhibit 269, already in evidence.

 4      MR. CAMPOAMOR-SANCHEZ:

 5      Q.   What are we looking at in 269?

 6      A.   Because I think -- I don't know where Greg was.             But, I

 7      responded by email, basically saying, "This is what I've done."

 8                   You know, I've taken all of these points and I

 9      numbered them.     I've deleted the sentence he wanted deleted.

10                   Point 5, I wanted to have a chat with Greg.

11                   Point 9, I needed to speak to Paul Manafort.

12                   And Point 11, I said, "I was unaware of this, and I'm

13      just thinking about what I'm going to do."

14      Q.   And did you actually ultimately -- and, so, let me ask you,

15      this email is to Ms. Catherine Whitney, the person that

16      forwarded the comments to you initially?

17      A.   Yes, it is.

18      Q.   And did you ultimate actually get to speak with Mr. Craig

19      about the few of the questions you had?

20      A.   I don't remember if I did or not.

21      Q.   Okay.

22                   MR. CAMPOAMOR-SANCHEZ:     Let's look at Government's

23      Exhibit 272.     That is also in evidence.      And let's look at the

24      very bottom of page 2, going on to the top of page 3.             No.     The

25      bottom of page 2, going on to page 3.
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 1      MR. CAMPOAMOR-SANCHEZ:

 2      Q.   And do you see that e-mail from you to Mr. Craig?

 3      A.   The one at the bottom, yes.

 4      Q.   Okay.    And what were you -- can you explain to the ladies

 5      and gentlemen of the jury, what were you addressing to

 6      Mr. Craig in the email?

 7      A.   This was the reference to Point 5 that I needed to speak

 8      with him about.       Or wanted to, you know, engage with him about.

 9      Q.   What were you -- what were you asking him here?

10      A.   Just asking for, you know, how he wanted me to sort out,

11      you know, the problem.      Really, what he wanted me to say.

12      Q.   And did Mr. Craig respond to your question as to how to

13      handle this issue, Point 5?

14      A.   Yeah, he did.      He just -- he changed the words.         So, it

15      went from, you know, "The record is clear," full stop.

16      Statement.    To, "In the record of the trial" --

17      Q.   Is that -- I'm sorry.

18      A.   -- comma.

19      Q.   I'm sorry.    I didn't mean to --

20      A.   Comma.

21      Q.   Okay.    And is that what we see above the email from

22      Mr. Craig in response?      "In the record of the trial, Tymoshenko

23      failed to substantiate her claim of selective prosecution"?

24      A.   Yes.    Sorry.    So, I missed out, you know, the other bit.           I

25      wrote, "Tymoshenko has failed to produce any evidence to
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 1      support her allegations of political persecution."

 2                   Which was, you know, the language that the Ministry

 3      was keen on.     And Mr. Craig said to change it to -- well, he

 4      didn't say that, but, he had changed it to, "Tymoshenko failed

 5      to substantiate her claim of selective prosecution."

 6                   So "political persecution" here, to "selective

 7      prosecution," you know, from the report.

 8      Q.   Okay.   And in this, sir, did you ask another question of

 9      Mr. Craig?

10                   You can move now to the next top two emails.        Let's

11      look first as your email that says here, September 25th, 2012,

12      at 6:11 p.m., Point 5.

13                   What are you asking Mr. Craig at this point?

14      A.   I'm still trying to nail it down.        So, I'm saying, "Sir,

15      would you be comfortable with that being used by the MOJ" --

16      that's the Ministry of Justice of Ukraine -- "in a statement

17      attributed to them?      So, their PR communication?"

18                   And then I haven't put it in quotes, but the sentence

19      below is giving him options on the verbs.         You know, "The

20      report states/shows/demonstrates, one of those, that in the

21      record of the trial, Tymoshenko failed to substantiate her

22      claim of selective prosecution," which are the words that he

23      wanted.

24      Q.   And did Mr. Craig respond to that?

25      A.   "Any of those verbs would be okay."
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 1      Q.   And when you say, "Would you be comfortable with that being

 2      used by the MOJ in a statement attributed to them," what does

 3      that mean?

 4      A.   Well, you know, obviously, this messaging is messaging on

 5      behalf of the Ministry of Justice of Ukraine, who, you may

 6      recall, was the commissioner of the Report.          The Report was on

 7      their behalf.     And, you know, they would need to communicate

 8      about it because, obviously, you know, they are the point for

 9      the government of Ukraine.

10      Q.   So when you're saying the statement here, is that part of

11      the Ministry of Justice PR?

12      A.   Yeah.   It -- you know, statement is, you know, it's a form

13      of words that you use with, usually, the media, sometimes, you

14      know, other stakeholders.       And, you know, it can be used in a

15      news release or it can be used in response to media inquiries.

16      Q.   And do you further respond to Mr. Craig above, once he told

17      you "Any of the verbs would be okay"?

18      A.   Yes, I did.    Yep.

19      Q.   Okay.   And can you tell the ladies and gentlemen of the

20      jury, what were you trying to do now here, with this email?

21      A.   I was still trying to see if there's something more

22      fundamental that I've got wrong, because, you know, you don't

23      hear "whitewash" word very often.        And so if I'd made, you

24      know, a major error, I needed to know.         So, I said, "Other than

25      your 13 points" -- which I'd gone through -- "what do you think
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 1      makes the messaging look like a whitewash," so that I could

 2      deal with it.

 3      Q.   And, again, was it your intention to make the Report look

 4      like a whitewash?

 5      A.   Absolutely not.     Because, you know, if I'd made the Report

 6      look like a whitewash, then, you know, I wouldn't achieve the

 7      objective of Ukraine because, you know, it would be exposed

 8      pretty quickly.

 9      Q.   And can we look at the response -- well, let me ask, did

10      Mr. Craig respond to the email you sent?

11      A.   He did.

12      Q.   And what did he say?

13      A.   Thank you.

14                   He was still going back on the language.        He said,

15      "What do we say in the Report, may or should?"

16                   But he didn't come back on my whitewash point.

17      Q.   So he did not answer your question?

18      A.   No.   He picked up on, you know, the verb change because

19      that was referred to in the email that was on the screen a

20      moment ago.

21      Q.   Okay.

22                   MR. CAMPOAMOR-SANCHEZ:     And, finally, if we could

23      look at the last two emails, at the top.

24      MR. CAMPOAMOR-SANCHEZ:

25      Q.   And can you explain what is going on here now?
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 1      A.   So, Point 5, the one that I needed to have a chat with him

 2      about, was -- it was basically an important point to get the

 3      verb right.    And I think I'd written "would."        He wanted it to

 4      be "may."

 5                   I went back to the Report and said, "Well, actually,

 6      the Report said 'would likely.'"

 7                   And that's all that is, to be perfectly honest.

 8                   And then I put it into the sentence.       This time, I

 9      went so far as putting in inverted commas, so that you can see

10      that it is a quote, and I said that I would make the change.

11      Q.   And what you say, in quotes, is that you changed executive

12      summary to read, "Tymoshenko's courtroom behavior would likely

13      have merited a summary contempt finding under western

14      standards"?

15      A.   That's right.

16      Q.   And did Mr. -- was Mr. Craig in agreement with your

17      suggested change?

18      A.   He said, "Good.     That should work just as well for you."

19                   And, you know, of course it should, really, because

20      it's his language, or the language of the Report.

21      Q.   Okay.    All right.   Let me -- before we leave New York, do

22      you have any other meetings in New York before you left?

23      A.   Yes, I did.

24      Q.   So tell us about what was the other meeting you had in New

25      York?
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 1      A.   I had a meeting -- I had a meeting with the Skadden PR

 2      people.

 3      Q.   I believe we covered that yesterday.

 4                   Do you have any other --

 5      A.   I had a second meeting with Paul Manafort and -- at Trump

 6      Tower.

 7      Q.   Okay.   And what was the purpose of the meeting that you had

 8      with Mr. Manafort at Trump Tower?

 9      A.   Okay.   So, you may remember that the original plan was that

10      we would seed a journalist, and then we hoped that Mr. Craig

11      with speak to a journalist.       The Harvard Club meeting outcome

12      was that, you know, he would do it reactively, not proactively.

13                   Then we received an email from Mr. Craig saying that

14      the firm's policy was that -- you know, meant that they

15      couldn't do that.     And, so, the meeting with Paul Manafort was

16      to address this, you know, fairly major change to, you know,

17      the hopeful plan, and work out what to do.

18      Q.   Was anybody else in the meeting in addition to

19      Mr. Manafort?

20      A.   Rick Gates was there.

21      Q.   Anybody else that you recall?

22      A.   I can't remember.     It was a long time ago.

23      Q.   All right.    And I don't -- I don't want you to tell us what

24      was discussed at the meeting.       Okay?    But, I want to ask you

25      just a couple questions.
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 1                  Did anybody have kind of an action item, something to

 2      do after you guys met?

 3      A.   Yes.

 4      Q.   And who was that and what were they supposed to do?

 5      A.   That was Paul Manafort.

 6      Q.   And what was Mr. Manafort supposed to be doing?

 7      A.   Speak to Greg.

 8      Q.   And he was supposed to speak to Mr. Craig about what?

 9      A.   About the reversal, you know, to the reversal in relation

10      to media relations.

11      Q.   And in terms of the instructions that you had at that

12      meeting, were you supposed to keep planning -- including

13      Mr. Craig in the plan or take him out of the plan?

14                  MR. MURPHY:    Objection.    Leading, Your Honor.

15                  THE COURT:    What was the state of the plan before you

16      went into this meeting?

17                  THE WITNESS:    I -- the plan had been updated after

18      the Harvard meeting.      And I'm pretty sure that we still were

19      planning to do what we always planned to do, which was seeding.

20                  THE COURT:    So --

21                  THE WITNESS:    We hadn't taken him out, is what I'm

22      saying.

23                  THE COURT:    -- after the meeting with Mr. Manafort

24      and Mr. Gates, did you do anything with respect to the plan,

25      that aspect of it?
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 1      A.   I probably did, but I didn't take Greg out of the plan.

 2      BY MR. CAMPOAMOR-SANCHEZ:

 3      Q.   Was that based upon the discussions you had with

 4      Mr. Manafort?

 5      A.   Yes.

 6      Q.   All right.

 7                   MR. CAMPOAMOR-SANCHEZ:     Let's look now at

 8      Government's Exhibit 276.

 9                   And if we can zoom in on both emails.

10      MR. CAMPOAMOR-SANCHEZ:

11      Q.   Starting at the bottom, you're getting an email from

12      Mr. Gates on September 30th; is that right?

13      A.   Yep.

14      Q.   And what was he sending you and asking you to do?

15      A.   So, at this point, Rick decided that he could do a master

16      control grid.     And he did his own version, which was a little

17      confusing, because, I think, it was based on the incorrect,

18      latest draft.

19      Q.   And why was he sending that to you?

20      A.   "Can you please send me an updated master grid document, as

21      well, to review?"

22                   So, he wanted me to review his change and update it.

23      Q.   And did you do that at the top email, sending him these two

24      documents?

25      A.   I -- I basically pushed back a bit because, you know, we'd
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 20 of 158         1222


 1      put so much effort into what we'd had.         And, you know, I didn't

 2      want to make work for no reason.        So, I suggested that, you

 3      know, we stuck with the original formatting.

 4      Q.   Okay.    Let's take a look at the attachments you sent.

 5      First of all, at page 3 of Exhibit 276.

 6                   MR. CAMPOAMOR-SANCHEZ:     And if we can start where it

 7      says, "Friday through A Day," and include that.          We can zoom in

 8      on that.

 9      MR. CAMPOAMOR-SANCHEZ:

10      Q.   All right.    So when we're looking at Monday, 1100, you

11      have, "FTI London."      It says, "Engagement with media targets."

12                   What does that mean?

13      A.   Okay.    So, in the meeting with Paul, the plan -- well, the

14      original plan was to deal with just one journalist, Bloomberg,

15      and then the view was that we needed to engage with more

16      journalists in Europe.       And so this is the seeding.         So, the

17      bit at 11:00 a.m., "FTI London," is me, really.

18                   "Engagement with media targets," you know, do the

19      seeding.     That's what it means.

20      Q.   And then at 1200 to 1900, it says, "FTI London briefing of

21      media targets."

22                   What is that?

23      A.   If they're interested.      Just remember, you know,

24      journalists don't have to take a story.         They might think it's

25      rubbish.     So, if they're interested, then, you know, we would
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 21 of 158         1223


 1      go back and have a chat with them.

 2      Q.   Was that, again, happening before the release of the

 3      Report?

 4      A.   Yes.    "A day" means announcement day.      That is the day that

 5      the Report is out.

 6      Q.   So if we look at A day, 1000 hours, that's MOJ publication

 7      report?

 8      A.   Yes.    Yeah.

 9      Q.   Let's look at the second document you forwarded, which

10      begins on page 5 of this exhibit.

11                   MR. CAMPOAMOR-SANCHEZ:     And if we can enlarge from

12      "Skadden Report" until the end of that page.

13      MR. CAMPOAMOR-SANCHEZ:

14      Q.   And what is this document, by the way, first of all?

15      A.   This is the thing that Rick was wanting, which was, you

16      know, a different format of, you know, pretty much the same

17      thing.

18      Q.   Okay.   So can you read the first paragraph?

19      A.   This is language you've probably heard already.             But, "The

20      Skadden Report is a vital tool in addressing international

21      ignorance of the facts relating to the Tymoshenko case.             Its

22      key finding that the Court's decision was based on the facts of

23      the case and not on political influence, and its clear

24      narrative outlining how the crime was committed will greatly

25      assist diplomatic and political audiences to understand why
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 22 of 158     1224


 1      they have misunderstood this matter.

 2                    "The Report is truly independent.      It blends these

 3      findings with a number of critics of the prosecution process,

 4      which, it argues, falls foul of normal western standards.         In

 5      this area -- it is this area that will be seized upon by the

 6      Ukraine media, depending on the political line each

 7      organization holds, and it is likely, without proactive

 8      communication, that this is the angle that international wire

 9      services based in Kyiv, AP, AFP, Reuters, and DPA, will take

10      and send around the world."

11      Q.   And when you wrote "And it is likely, without proactive

12      communication, that this will happen," what does that mean?

13      A.   That if we didn't try to own the story and engage in, you

14      know, proactive seeding, that, you know, they'll just wander

15      through the Report and find the negatives very quickly, like I

16      predicted a lot earlier.

17      Q.   Right.    And is that what you address in the second

18      paragraph, that begins, "To avoid"?

19                    And you can read that, too, please.

20      A.   Oh, sorry.

21                    "To avoid negatively framing this report, we propose

22      briefing a small number of highly influential journalists we

23      know in targeted jurisdictions in advance of its publication,

24      so that their reporting will set the agenda for the reporting

25      that follows, and which will ensure our mitigation balance will
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 23 of 158    1225


 1      be, inevitably, wild allegations from the Tymoshenko camp."

 2                   So the thing I said just now was, obviously,

 3      incorrect.

 4      Q.   What do you mean?

 5      A.   I -- you know, I got my versions of the document mixed up.

 6      I, clearly, had taken Greg out of a plan and, you know,

 7      forgotten about it.

 8      Q.   Well, let's look at the next line.

 9                   Can you read that?

10      A.   Oh, okay.    Maybe I didn't, then.

11                   "The background briefings will be done by FTI and

12      Skadden Arps and will include the following journalists.

13      Q.   So, had you taken him out or was he still in?

14      A.   In light of the document we looked at just now --

15      Q.   Right, the master control grid.

16      A.   Yeah.    But, he's back in this one.      So, I'm, obviously, a

17      bit confused at this point on the back of the -- you know, the

18      whole Harvard interaction and the reversal to the reversal on

19      media relations.

20      Q.   All right.    But, taking what we've been reading now in this

21      document, you were talking about one journalist to multiple

22      journalists.     Are you now envisioning using more than one

23      journalist?

24      A.   Yeah.    There was pressure from Ukraine to expand the

25      seeding program.     Frankly, they would have liked us to seed the
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 24 of 158      1226


 1      world.

 2      Q.   Okay.    And in the United States, as of this date, who was

 3      the person or journalist that was supposed to be seeded?

 4      A.   It was an Al Hunt at Bloomberg, in Washington.

 5      Q.   And then did the -- does this document go on to describe

 6      other locations?      If we can look at page 2.

 7      A.   Yeah, it did.

 8                   Sorry.   These are my contacts.     So, British

 9      journalists, which is a far more comfortable environment for

10      me; the Press Association editor.        You know, he's not there

11      anymore.     But, it's the main domestic wire service, which is

12      the main court reporting -- or, sorry -- legal process

13      reporting vehicle in the UK.       So, that was an obvious choice.

14                   And then Richard Fletcher, he wasn't the editor of a

15      newspaper, but he was the city editor, which is English for

16      business editor, of the Daily Telegraph, which is a broadsheets

17      newspaper, I suppose bit like Wall Street Journal, a bit, I

18      suppose.     Yeah.

19      Q.   So the plan had expanded to, now, multiple --

20      A.   Yeah.    They wanted more.

21      Q.   Now, let me ask you, to be clear, had you, at this point,

22      spoken to Mr. Craig about talking to Bloomberg after the

23      reversal, after the Harvard Club meeting?

24      A.   No.

25      Q.   And why had you not spoken to Mr. Craig directly?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 25 of 158    1227


 1      A.   Because Paul would do it, you know, because they're at the

 2      same level.

 3      Q.   When you say they're at the same level, what does that

 4      mean?

 5      A.   You know, they're both people who, you know, have advised

 6      presidents, and I'm -- you know, I'm a PR consultant.

 7      Q.   Okay.

 8                   MR. CAMPOAMOR-SANCHEZ:     Let's look at 280, also in

 9      evidence.    And we're now to October 2nd.       And let's take you to

10      the end of this email, on page 5.

11                   If I can have the very bottom of page 4, into page 5.

12      MR. CAMPOAMOR-SANCHEZ:

13      Q.   What is going on here?

14      A.   Well, we call this, in Wales, a bit of a kicking, really.

15      So, Paul is getting impatient that I haven't progressed.

16      Q.   So he's asking you to do what?

17      A.   Get my finger out.

18      Q.   I'm sorry?

19      A.   Get my finger out and get on with it.        You know, progress

20      the plan.    But, you know, had -- he just hadn't understood it,

21      I think.

22      Q.   Okay.    And when he said "The grid is not more advanced than

23      the document I saw a month ago," when he says "The grid,"

24      what's he talking about?

25      A.   He's talking about the wonderful master control grid, you
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 26 of 158     1228


 1      know, that's supposed to be the project management plan.

 2      Q.   Let's go, now, to the beginning of the document, 280.

 3                    And do we see, at the very top, your response to

 4      Mr. Manafort?

 5      A.   Yeah.

 6      Q.   And you don't have to read it.       But, generally, what are

 7      you telling him?

 8      A.   I'm -- I think I'm the master of diplomacy in pushing back,

 9      and basically saying, Look, you know, this is where I am.         You

10      know, I can -- you know, I've done most of this, but some of it

11      I can't do.

12      Q.   And did you --

13      A.   And other information.

14      Q.   I'm sorry.

15      A.   Sorry.

16      Q.   You then go item by item, addressing some of the questions

17      he had?

18      A.   Yes, I do.

19      Q.   All right.    Let's look at --

20      A.   I'm pulling them out of the master control grid.

21      Q.   Right.    So, let's look at the second page, at very top.

22                    And, first of all, when you say you're pulling it out

23      of the master control grid, what are you talking about?          What

24      were you doing?

25      A.   You can see the format is a bit weird for an email.         This
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 27 of 158      1229


 1      is an email.     I just cut it out of the master control grid to

 2      make my point.     I've already addressed everything that -- well,

 3      not everything, but most of the stuff that he was worried

 4      about.

 5      Q.   So in the box itself of the master control grid, it says,

 6      "Briefings of Fule, Cox" -- I'm afraid I'm not going to

 7      pronounce it right -- "Kwasniewski, and Lutkovska.           Update to

 8      FTI with any issues.      Who is setting up?     Who has numbers?   Has

 9      GC provided time block?      Where are his briefing points?      Has CG

10      agreed to them?"

11                   Where are those questions coming from?

12      A.   They come in from polls.      So he's done the same thing, of

13      pulling them out of the grid.

14      Q.   So, those are Mr. Manafort's questions to you?

15      A.   Yeah.   They are, yeah.

16      Q.   Okay.   And can you please read, now, your response to

17      Mr. Manafort's questions.

18      A.   Well, to that one or --

19      Q.   Yeah, to the -- just underneath.

20      A.   "Greg Craig is currently in Egypt.        In his last call with

21      me, he said he would do meetings with political stakeholders.

22      I don't have any agreed time with him yet, as the release date

23      has been changing.      Again, once agreement on the release was

24      confirmed at the meeting, I expected to speak to Greg and fix

25      up times when he would be available, and them" -- typo -- "then
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 28 of 158        1230


 1      then report back to the MOJ and MFA people charged with

 2      contacting the stakeholders.       On talking points, Greg was clear

 3      that he would speak to the Report."

 4      Q.   Okay.   What does -- and let's start at the bottom.

 5                   When he says "On talking points, Greg was clear he

 6      would speak to the Report," what does that mean?

 7      A.   That he didn't need any messaging from me.         He knew the

 8      Report and -- well, he knew it better than anyone, frankly.

 9      So, he didn't need to use the same material that was being

10      prepared for PR purposes for the Ukrainian parties.

11      Q.   And then, if you can go to the top, where it says, "GC is

12      currently in Egypt.       In his last call with me," are you talking

13      to Mr. Craig on the phone?

14      A.   I must have, but, you know, I don't recall the discussion.

15      Q.   But this is after the Harvard Club meeting, right?

16                   MR. MURPHY:    Objection, Your Honor.

17                   THE COURT:    Well, I think it's dated.

18                   Do you know what you're talking about when you look

19      at this right now?      Do you have any recollection of, when you

20      wrote this, whether you were referring to a phone call or

21      whether you were referring to the Harvard Club meeting?

22                   THE WITNESS:    This is, obviously, a phone call after

23      the Harvard Club meeting, because otherwise I'd have said, you

24      know, at the Harvard Club meeting he said.

25                   THE COURT:    Do you have any present recollection
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 29 of 158     1231


 1      beyond what you wrote on the paper?

 2                   THE WITNESS:   I'm sorry.    I don't.

 3                   THE COURT:   All right.    Ask your next question.

 4      BY MR. CAMPOAMOR-SANCHEZ:

 5      Q.   Do you know how he -- how he happened to be in Egypt or why

 6      he was in Egypt?

 7      A.   Well, that's why I must have known, you know, from a phone

 8      call, yeah.

 9      Q.   But you just don't recall specifically?

10      A.   I really don't recall, and I don't want to be wrong.

11      Q.   But, as you're reporting here now, Mr. Craig is willing to

12      talk to at least some of these folks, but without talking

13      points?

14      A.   Yeah.    Although, I have to say, I don't remember which

15      political stakeholders, you know.        Because remember, in my

16      original, you know, plan, I was planning for him to talk to the

17      world, which he never agreed to.

18      Q.   All right.    Let's go to Exhibit 305.

19                   And what are we looking at in 305?

20      A.   Yet another update of our wonderful master control grid.

21      Q.   Okay.

22                   MR. CAMPOAMOR-SANCHEZ:     I should say, 305 is also in

23      evidence, Mr. Haley.

24      MR. CAMPOAMOR-SANCHEZ:

25      Q.   And this is an email dated October 3rd?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 30 of 158        1232


 1      A.   Yes, it is.

 2      Q.   Is that a day after the email we were just looking at, with

 3      your conversation with Mr. Manafort?

 4      A.   I didn't make note of that.

 5      Q.   Okay.   Let's go back to --

 6      A.   Hang on.    Yes, it's correct.     Yeah.

 7      Q.   So just the day after?

 8      A.   It's the day after, yep.

 9      Q.   So you -- what are you doing in the top email?          You're

10      forwarding to yourself the master control grid?

11      A.   Yeah.   So, I must have been traveling or something.        So, I

12      passed it from my home email address -- it's the same thing,

13      even though the end is different.        It's the name of my old

14      business, which is why it's a bit weird -- to my work one so

15      that I could work on it on a proper work computer.

16      Q.   So let's look at page 3 of this exhibit.

17                   MR. CAMPOAMOR-SANCHEZ:     And if we can zoom in

18      starting on (indicating).

19      MR. CAMPOAMOR-SANCHEZ:

20      Q.   Are you there?

21      A.   Yes, I am.

22      Q.   Okay.   So, for Sunday, 1200 FTI, it says, "Provide SA

23      report to key journalist in U.S. for leak story"?

24                   What does that mean?

25      A.   Well, I had to use the word "leak," you know, because it's
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 31 of 158     1233


 1      Gates.   But, it's seeding.

 2      Q.   Okay.   So, is that the plan as to when you're going to

 3      contact the journalist?

 4      A.   Absolutely.    Yes.

 5      Q.   All right.    And under it, it 1600 hours.       It says "SKA."

 6      And it says, "GC to provide background briefings at the request

 7      of U.S. journalists."

 8      A.   Yes.

 9      Q.   Why do you write that in there?

10      A.   Because I was told that that's what he had now agreed to.

11      So, there had been a reversal.

12      Q.   And, finally, if you look at A Day, which you told us means

13      what?

14      A.   Announcement day is when the Report becomes a live, public

15      document.

16      Q.   So at 1000 hours, "MOJ publication report and statement on

17      website."

18      A.   Yeah.   That's the Ministry of Justice website.

19      Q.   So, again, background briefings before publication?

20      A.   Yes.    It's the same plan all the way along, yeah.

21      Q.   And do you know why it was "GC to provide background

22      briefings at the request of U.S. journalists"?

23      A.   Well, there were --

24                   MR. MURPHY:   Objection.    Leading.

25                   THE COURT:    Do you know why it says that?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 32 of 158            1234


 1                  THE WITNESS:    Yes.

 2                  THE COURT:    That's not a leading question.

 3                  Ask your next question.

 4      BY MR. CAMPOAMOR-SANCHEZ:

 5      Q.   How do you know?

 6      A.   I know because that was -- you know, we've already spoken

 7      about it from the Harvard Club meeting, that the intention was

 8      that it would be a reactive engagement with the media, rather

 9      than a proactive one.      That's why it's in this way.          It was

10      never the plan for Mr. Craig to be proactive in engaging with

11      the journalists.

12      Q.   Now, this document we're looking at --

13                  MR. CAMPOAMOR-SANCHEZ:      And you can take it down now.

14      MR. CAMPOAMOR-SANCHEZ:

15      Q.   -- that was in, as we saw, October 3rd?

16      A.   October the -- sorry.      This is October the 30th -- the 3rd,

17      did you say?

18      Q.   No.   3rd.

19      A.   October the 3rd.     Okay.    Yes, it is.   Yeah.

20      Q.   And can you explain to us why all these media plans?

21      What's happening to the Report or the publication of the Report

22      throughout?

23      A.   Oh, well, you know, this was a report that was supposed to

24      have been put into the public domain months earlier.             I think

25      the first publication date was, you know, June.          You know, and
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 33 of 158           1235


 1      it just -- we kept on being told, you know, it's going to be

 2      next week, and there were delays.        So, I presume that there was

 3      a publication date -- you know, another publication date around

 4      this date.

 5      Q.   In other words, that's the reason for updating the plan?

 6      A.   Yeah.   Yeah.   Yeah.

 7      Q.   All right.    Let's move now to December of 2012.           Okay?

 8      A.   Yes.

 9                   MR. CAMPOAMOR-SANCHEZ:     Let's look at Government's

10      Exhibit 316, also in evidence.

11      MR. CAMPOAMOR-SANCHEZ:

12      Q.   And this is an email dated December 6, 2012?

13      A.   Yes, it is.

14      Q.   And it's an email from Mr. Gates to you and others?

15      A.   That's right.

16      Q.   Do you know who the others are, that being the AGF?

17      A.   Yes, I do.

18      Q.   And who's that?

19      A.   He's a man called Alan Friedman, and he is an -- well, he

20      was American.     I don't know if he is now a Swiss national --

21      who was -- we didn't realize there were other consultants

22      working for Manafort in Ukraine in different departments.                And

23      Alan and his colleague from Germany were based at the Ministry

24      of Foreign Affairs.      So, like at your State Department, I think

25      it is.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 34 of 158      1236


 1      Q.   And Mr. Gates writes to you, "Gents, we have a green light

 2      to release the Veritas report next week."

 3                   What does that mean?

 4      A.   Well, it means that the Ministry would put the -- he never

 5      really got the irony -- but, to put the Veritas report into the

 6      public domain.     And, so, finally, we would execute the plan,

 7      and the Skadden Report -- not the Veritas report -- would go

 8      into the public domain.

 9                   MR. CAMPOAMOR-SANCHEZ:     Can we look at Government's

10      Exhibit 318?

11                   Just zoom in on the top, please.

12      BY MS. GASTON:

13      Q.   And that's an e-mail from you --

14                   MR. CAMPOAMOR-SANCHEZ:     Also in evidence, Mr. Haley.

15      A.   That is.

16      Q.   -- to Mr. Gates?

17      A.   That's correct.

18      Q.   And what is the subject line?

19      A.   "Docs."

20      Q.   Okay.   Do you know what that means?

21      A.   Yeah.   It's a reference to all of these, you know,

22      wonderful documents that I've been talking about:           You know,

23      the messaging document, the master control grid, you know,

24      talking points, you know, possibly the strat -- you know, all

25      of the PR package of stuff.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 35 of 158      1237


 1      Q.   When you say "Everything has gone to Alex's Gmail," what

 2      does that mean?

 3      A.   Rick -- you know, Rick didn't like communicating through

 4      normal, you know, corporate email systems and, you know, normal

 5      phone calls.     He always wanted to use, you know, private emails

 6      and, you know, encrypted phone systems.         And, so, he wanted it

 7      to go to Alex's Gmail.

 8      Q.   Then you say, "Can't get ahold of Greg yet."

 9      A.   Needed to speak to Greg in order to make sure that he knew

10      it was, you know, happening, because it was the Ministry's

11      decision, not the Skadden decision.        And to make sure that, you

12      know, he hadn't changed his mind.

13      Q.   So you were trying to reach Mr. Craig how?         By email?

14      Phone?

15      A.   I can't remember.     Probably both.     But, I just don't know.

16      Q.   All right.    And do you recall, as you sit here today,

17      whether you actually reached him or not?

18      A.   Not without looking at a document, I can't remember.

19      Q.   Let's look at Government's Exhibit 322.

20                  Now, this is an email from you to Mr. Gates?

21      A.   Yes, it is.    Yes.

22      Q.   Which date?

23      A.   That's the 6th of December.

24      Q.   Still the same day?

25      A.   Yes, it is.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 36 of 158        1238


 1      Q.   In other words, the same day as the prior two emails we

 2      just looked at?

 3      A.   That's right, yeah.

 4      Q.   You have as an attachment, "18 Veritas Phase One Media."

 5      A.   Yeah.

 6      Q.   And let's look at that.

 7                   What is this document that you sent to Mr. Gates?

 8      A.   So, he now wanted yet another document.         So, you know, he

 9      wanted a simple document that said, you know, which agency or

10      person is going to contact each of the target seeds.             And, as

11      you can see -- target seed -- the target journalists.            Sorry.

12      And, as you can see, it's now quite a lengthy list.

13      Q.   And what do the three columns mean?

14      A.   The column on the left is the publication, so, the

15      newspaper; the column in the middle is the name of the

16      journalist that we wanted to approach; and the column on the

17      right refers to who is going to do that initial engagement.

18      Q.   And, obviously, when we see FTI and your last name, what

19      does that mean?

20      A.   I ended up with, like, half the world to myself, yeah.

21      Q.   And, specifically, were you responsible -- what were you

22      responsible for in the UK?

23      A.   Well, obviously, the UK is where I'm from.         And, so, you

24      know, it's absolutely logical that I did the UK.           And that was

25      the Daily Mail.     Actually, the journalist wasn't interested.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 37 of 158         1239


 1      The Daily Telegraph, which is the one we mentioned a moment

 2      ago.    And the journalist referred it to the chap below,

 3      Tom Parfitt, who was the Moscow correspondent.          And then the

 4      one below is -- I've already spoken about the Press

 5      Association.     "PA" means Press Association.

 6      Q.     Were you also responsible for the USA?

 7      A.     Yes, I was.   So, the target has now changed, and I was

 8      supposed to make the initial approach.

 9      Q.     Now, Mr. Craig's name is nowhere in this document.

10      A.     No.   It wouldn't be, you know, because, like I said, he

11      wasn't going to be proactive; he was going to be reactive.             So

12      the plan was never for Greg to contact the journalist.           You

13      know, I and all of the others were supposed to contact the

14      journalists.     And then, if the journalist was interested, then,

15      you know, we would get them in touch with Greg.

16      Q.     Now, when we see FH Berlin or FH Paris, and others, what is

17      that relating to?

18      A.     So, the Manafort people had other agencies everywhere

19      working for Ukraine and taking instructions from them in the

20      way that we were.     And FH stands for FleishmanHillard, which is

21      actually the company I worked for at the start of my PR career.

22      Which is coincidental, but, it is what it is.          And FH Paris is

23      also FleishmanHillard.

24      Q.     And, now, let's focus on the United States here for a

25      second.
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 1                  Previously, we had seen in the plans that Al Hunt of

 2      Bloomberg was listed for seeding in the US.

 3      A.   That's right.

 4      Q.   How did it come to be that now Mr. Sanger of The New York

 5      Times is now listed in this plan?

 6      A.   It came out of the discussion between Greg and

 7      Paul Manafort.

 8      Q.   Well --

 9                  MR. MURPHY:    Objection, Your Honor.      Move to strike.

10                  THE COURT:    Who told you that -- that answer will be

11      stricken.

12                  Who told you what name to put there?

13                  THE WITNESS:    Rick Gates.

14                  THE COURT:    Go on to the next question.

15                  MR. CAMPOAMOR-SANCHEZ:      Yes.

16      BY MR. CAMPOAMOR-SANCHEZ:

17      Q.   So, it was because Mr. Gates told you that, that you put

18      the Sanger name on it?

19      A.   Yes, it was.

20      Q.   All right.    Let's take a look at 327.      And we start at the

21      bottom email.

22                  And what are we looking at here?

23      A.   Yet another version of the master control grid.

24      Q.   Sent by whom?

25      A.   This is from Gates, again.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 39 of 158     1241


 1      Q.   Okay.   And -- All right.     Same people that we were talking

 2      about before, that had received the emails from Gates about the

 3      green light?

 4      A.   That's right.

 5      Q.   And what --

 6      A.   Oh, there's one extra.      Sorry.    That's Eckart, who worked

 7      with Alan.     The German guy who worked with Alan.

 8      Q.   The first name that we see, Eckart Sager?

 9      A.   Yes.

10      Q.   So, that's an addition now?

11      A.   Yes.

12      Q.   And who was -- who was he?

13      A.   He was the partner of Alan Friedman, the American who

14      now -- who I mentioned was working for the Manafort operation

15      at the Ministry of Foreign Affairs in Ukraine.

16      Q.   All right.    Let's look, then, at the actual document, first

17      page.

18                   And, first of all, did you yourself create this

19      master control grid?

20      A.   No.

21      Q.   Who created this master control grid?

22      A.   Rick Gates, I presume.

23      Q.   Okay.

24                   MR. CAMPOAMOR-SANCHEZ:       And can we zoom in, first, on

25      the top right-hand corner?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 40 of 158     1242


 1      MR. CAMPOAMOR-SANCHEZ:

 2      Q.    What is that?

 3      A.    It's a -- you know, he's called it a legend, and it just

 4      explains the -- you know, the acronyms of, you know, who's --

 5      who the parties are in each of the elements of the plan.

 6      Q.    And is Mr. Craig specifically listed in this master control

 7      grid?

 8      A.    Yeah, by his initials, GC.

 9      Q.    And how about you?    Are you listed here?

10      A.    No.    Not important enough.

11      Q.    Well, but --

12      A.    Oh, FTI Consulting is.     But, I mean, you know, I'm not.

13      Q.    So if we see FTI, is that something that you were supposed

14      to do or is that somebody else?

15      A.    It depends on the geography, but, usually, me.

16      Q.    So now let's take a look at the -- (indicating.)

17                    All right.   Let me direct your attention first to the

18      1300 hours.

19                    Do you see that?

20      A.    Yes.

21      Q.    And what does it say to the right of that?

22      A.    So, it's the assigned roles:      FTI, me, and Greg Craig --

23      GC.

24      Q.    Can you read what it says for what the action or the plan

25      was supposed to be?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 41 of 158   1243


 1      A.    "The Report will be given to David Sanger of The New York

 2      Times, who will have an exclusive on the material for 24

 3      hours."

 4      Q.    What is it -- at 1900 hours, what does it say?

 5      A.    It says that "Greg Craig will give an on-recorder interview

 6      with The New York Times."

 7                  Which, I'm presuming, is a typo from Gates.

 8      Q.    What do you understand "on-recorder" to mean?

 9      A.    I think it's on the record -- on-the-record interview.

10      Q.    And do you know why, now, the interview was supposed to be

11      on the record?

12      A.    No, I don't.   I mean, there isn't a huge difference between

13      being on background and being on the record.          The only

14      difference is that, you know, you may end up with an

15      on-the-record interview with a quote that has your name against

16      it.   So, it's a bit more overt, really.

17      Q.    What does it say on the line "GC will give an on-recorder

18      interview with The New York Times?

19      A.    There's a line that says, "Sanger will write an article to

20      be placed in The New York Times that will be released Thursday

21      morning, midnight."

22                  And then...

23      Q.    And then what happens after that?

24      A.    At 0700, the, you know, New York Times article released.

25      Q.    And then we have this green dot that says -- or, this green
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 42 of 158     1244


 1      bar that says, "A Day, Thursday, December 13th."

 2      A.   Yes.

 3      Q.   What does that mean?

 4      A.   This is the -- this is, actually, what was the final

 5      release date for the Report.       So, you know, we finally got

 6      there on December the 13th.

 7      Q.   So when the ladies and gentlemen see in the documents "A

 8      Day," what does that stand for?

 9      A.   It's short for announcement day.        But, really, it means the

10      day when the Report becomes public.

11      Q.   Okay.   And if we can go to page 2 of this document.

12                   MR. CAMPOAMOR-SANCHEZ:     And if we can zoom in on

13      (indicating).

14      MR. CAMPOAMOR-SANCHEZ:

15      Q.   And what do we see with regards to the United States?

16      A.   It says, "GC, FTI," rather than "FTI, GC."

17                   So it's slightly changed.

18      Q.   And what does "GC" stand for?

19      A.   It means Greg Craig.      And FTI means me, in this context.

20      Q.   All right.    Now, let me ask you, sir -- and this applies to

21      anything that you heard from Mr. Craig directly, if you did --

22      did Mr. Craig ever indicate to you whether he knew Mr. Sanger?

23      A.   He did subsequently, yes.

24      Q.   "Subsequently," meaning what?

25      A.   After engaging with Sanger.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 43 of 158       1245


 1      Q.   So, we'll get to that.

 2                   Before that, had you heard that from the defendant,

 3      that you can recall?

 4      A.   No, I definitely didn't.      No.    I heard it from Rick Gates.

 5      Sorry.

 6      Q.   Okay.    All right.   Let's -- let's go, then, to Government

 7      Exhibit 328.

 8                   THE COURTROOM DEPUTY:       In evidence?

 9                   MR. CAMPOAMOR-SANCHEZ:      In evidence.

10                   THE COURTROOM DEPUTY:       Thank you.

11      BY MR. CAMPOAMOR-SANCHEZ:

12      Q.   And we can focus on the bottom email first, please.

13      A.   Yep.

14      Q.   It's an email from you to Ms. Grace Reynolds.

15                   Who's Ms. Reynolds?

16      A.   She's a colleague who is a member of my team who, you know,

17      came to Ukraine, you know, for much of the time in 2012.

18      Q.   Why were you asking her for numbers for David Sanger of The

19      New York Times?

20      A.   Because I had no idea how to contact him without getting a

21      number.

22      Q.   Do you have any relationship with that man?

23      A.   No, never.    I didn't even know of him.         Obviously, I knew

24      of The New York Times, but, you know, I didn't know this

25      journalist.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 44 of 158      1246


 1      Q.   Okay.   And did she provide you that information, the email

 2      above?

 3      A.   Yeah.   So, PR agencies have, like, a database.         You just

 4      put in the names, spits it out.

 5      Q.   And I should have pointed out, this is happening, also, on

 6      December 10th?

 7      A.   Yes, it is.

 8      Q.   Now, let's look at Government's Exhibit 332.

 9                   MR. CAMPOAMOR-SANCHEZ:     And let's start at the bottom

10      of page 1.    But, if we can also show -- (indicating).

11      MR. CAMPOAMOR-SANCHEZ:

12      Q.   Okay.   Do you recognize what we're looking at here?

13                   MR. CAMPOAMOR-SANCHEZ:     And this is also in evidence,

14      Mr. Haley, Government's 322.

15      A.   Yes, I do.

16      MR. CAMPOAMOR-SANCHEZ:

17      Q.   And what is that first email that we're focused on?

18      A.   Because he was in America and I was in Ukraine, I decided

19      to do the approach by email, and this is what I sent him.

20      Q.   And did you send that to him on December the 10th?

21      A.   Yes, I did.

22      Q.   Okay.   And let's -- can you read to the ladies and

23      gentlemen of the jury what you wrote to Mr. Sanger on the 10th?

24      A.   "I'm working with Greg Craig of Skadden Arps, who I

25      understand you know well, and his client, the Ukrainian
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 45 of 158     1247


 1      Ministry of Justice, on a report Greg has written on the

 2      Tymoshenko prosecution.      We were wondering whether you would be

 3      interested in receiving the Report and a briefing with Greg on

 4      an exclusive basis in the States."

 5      Q.   Can you stop for a second?

 6                  What does that mean?      When you're writing "We're

 7      wondering whether you're interested in receiving the Report and

 8      a briefing with Greg on an exclusive basis in the States," what

 9      does that mean?

10                  MR. MURPHY:    Objection, Your Honor.      I don't

11      understand what the question is.

12                  THE COURT:    You're asking what he meant by "receiving

13      the Report and a briefing on an exclusive basis"?

14                  MR. CAMPOAMOR-SANCHEZ:      Right.

15                  THE COURT:    What you meant by that.

16                  THE WITNESS:    "Exclusive" means that, you know, he

17      would get it ahead of everybody else so that he would have, you

18      know, the first chance to write the story.          And then I'm

19      limiting the geography to the United States because we're doing

20      the same thing in other jurisdictions.

21      BY MR. CAMPOAMOR-SANCHEZ:

22      Q.   So you were not promising him exclusivity outside of the

23      U.S.?

24      A.   No.   I'm limiting it to the U.S.

25      Q.   Please, go on.     "If so"...
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 46 of 158      1248


 1      A.   "If so, I could email you the Report ahead of tomorrow

 2      morning, your time, and arrange for a call with Greg towards

 3      the end of the day, if that works for you.          We're hoping that

 4      this makes an interesting story for Thursday, ahead of the

 5      broader publication of the Report by the ministry, following

 6      the start of the first section of the Rada."          That's like the

 7      Ukrainian Parliament.

 8                  "The Report reviews the prosecution of Tymoshenko and

 9      considers some of the international concerns about that

10      prosecution:     Whether it complied with international standards,

11      and whether the prosecution was politically motivated.           Could

12      you let me know if this is of interest to you?"

13      Q.   Now, Mr. Hawker, let me ask you, when you wrote "and

14      arrange for a call with Greg towards the end of the day,"

15      did -- before, you said -- well, let me -- let me just step

16      back.

17                  Was it your understanding that Mr. Craig knew about

18      the reach-out?

19      A.   Yes, he did.

20      Q.   And was that because you talked to him or because somebody

21      else told you?

22      A.   I don't recall talking to him.       But, I certainly did speak

23      to my client.

24      Q.   And, sir, would you promise a call with somebody like

25      Greg Craig unless you believed that to have been arranged?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 47 of 158         1249


 1                  MR. MURPHY:    Objection, Your Honor.      Leading.

 2                  THE COURT:    Overruled.

 3                  You can answer --

 4                  THE WITNESS:    I'm so sorry.

 5                  THE COURT:    You can answer the question.

 6                  THE WITNESS:    I'm just trying to grab the water

 7      quickly.

 8                  THE COURT:    Go right ahead.

 9                  THE WITNESS:    Well, I'm really sorry.

10                  THE COURT:    That's All right.

11                  THE WITNESS:    I lost track of the question now.

12                  What was the question?      Sorry.

13      BY MR. CAMPOAMOR-SANCHEZ:

14      Q.   Yes.   So the question was, would you set up or promise a

15      journalist a call with Greg Craig unless you believed that that

16      would actually happen?

17      A.   There's no way in the world I would do that, because --

18      Q.   Why?

19      A.   -- I don't -- I don't want to look like an idiot.           You

20      know, if you promise something to a journalist and you don't

21      deliver, your name is mud.       You know, I'm a PR consultant.        You

22      know, I -- you know, I need to have good relationships with

23      journalists.     And, so, you know, I'm only going to promise

24      something if I can fulfill that promise.

25      Q.   Now, did Mr. Sanger respond to you?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 48 of 158         1250


 1                   MR. CAMPOAMOR-SANCHEZ:     And if we can go up to the

 2      next exchange.

 3      A.   Yes, he did.    Sorry.    Yes.

 4      MR. CAMPOAMOR-SANCHEZ:

 5      Q.   Okay.   We can look at that response.

 6                   And what did Mr. Sanger tell you in response to your

 7      email?

 8      A.   Well, he already knew about the Report because he'd had a

 9      discussion a month earlier, which I hadn't realized.             And he

10      said it was -- the Report was supposed to arrive then and

11      everyone went silent, which I was a bit taken aback by.

12      Q.   All right.    So, let's be clear about this:       Did you have --

13      at this point, do you have any knowledge at all that Mr. Sanger

14      had been promised anything prior to your reach-out to him?

15      A.   I didn't.

16      Q.   And, so, when you received this email, what was your

17      reaction?

18      A.   Well, once I peeled myself off the roof, I tried to contact

19      Greg to discuss what to do next, because, you know, I didn't

20      really know where we were.

21      Q.   All right.    I'm going to get into that.

22                   But, did you also respond to Mr. Sanger?

23      A.   I did respond to Mr. Sanger.       And I wrote an email which

24      basically said, "Hi, David, I hadn't realized that you had that

25      discussion so long ago and apologize for the confusion.            I
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 49 of 158      1251


 1      suspect that the parliamentary election must have got in the

 2      way" --

 3                   There was an election in Ukraine.       That was one of

 4      the -- I think, one of the reasons for an earlier delay.

 5                   -- "and I'm sorry that you weren't told about the

 6      delay, and that I wasn't.       And would you have time to speak to

 7      me when you're in the office?       I'm in Ukraine and Greg is in

 8      Washington.    I would like to send you the Report, if you're

 9      interested.    The timetable for release has been set by a

10      development here that I'd rather tell you about, if possible."

11      Q.   And did you have a conversation with Mr. Craig about, sort

12      of, Mr. Sanger's response to your email?

13      A.   Yeah.    So, then, you know, when I was, you know, on a level

14      footing, I gave Greg a call.

15      Q.   So tell us about the call.

16      A.   Well, you know, so, I explained what had happened, and he

17      said, Look, you know, don't worry.        I'll sort -- this is my

18      words, not his -- but, I'll sort it out.

19                   You know, and that was that, really.

20      Q.   But what does that mean, that he'll sort it out?

21      A.   That he would speak to Mr. Sanger and just deal with it.

22      Q.   How about the delivery of the Report that you had promised

23      to Mr. Sanger earlier?

24      A.   He said that he would sort that out, too.         That he would

25      deliver the Report or he would have somebody deliver the
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 50 of 158       1252


 1      Report.

 2      Q.   And did you forward your prior communications to Mr. Craig?

 3      A.   Yes, I did.    Yeah.   So, after the call, I forwarded it on,

 4      you know, and I tried to sort of not sound like I was a

 5      crosspatch.    And that is that.

 6      Q.   And can you read your email to Mr. Craig?

 7      A.   "Here's the exchange.      The reaction seems logical, as I'd

 8      erroneously presumed he knew it was coming."

 9                  I think there's a typo.

10                  "But, then, why would he, as we all thought it was

11      coming since July?      Many thanks for your efforts."

12      Q.   When you say "We all thought it was coming since July,"

13      what do you mean?

14      A.   I think the second publication was supposed to be in

15      July -- the second planned publication date was July.            But, I

16      mean, I have to say, this is a weird email and I don't really

17      get it.

18      Q.   And when you say "Many thanks for your efforts," why do you

19      write that?

20      A.   I'm saying, Thank you for taking this off my plate.

21      Q.   Let's look at Government's Exhibit 351.

22                  So what are we looking at in 351?

23      A.   Greg forwarded me the -- so he did it by email, too.           He

24      engaged with Mr. Sanger by email, too.         And he forwarded it on

25      to me, you know, what he'd sent David Sanger.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 51 of 158       1253


 1      Q.   Right.    So if we look at the bottom email first, that's an

 2      email from Mr. Craig to Mr. Sanger with the subject "Ukraine."

 3      A.   That's right.

 4      Q.   All right.    And it reads, "David, I just learned that the

 5      Ukrainians intend to release our report about the Tymoshenko

 6      case on Thursday.     Finally.    And the Ukrainians have determined

 7      that you should be given first look at it.          Is this something

 8      that you're truly interested in and have the time for?           I've

 9      always assumed that these days your time would be taken up

10      selecting our new secretary of state.         But, if you're

11      interested, I would be happy to get you a copy, all 168 pages

12      of it" --

13      A.   186, actually.

14      Q.   -- "and even happier to talk to it about it.          Greg."

15      A.   You got the number wrong.

16      Q.   Oh, I'm sorry.

17                    186; is that right?

18      A.   That's correct.

19      Q.   Okay.

20      A.   Yeah.

21      Q.   When Mr. Craig wrote to Mr. Sanger, "Intend to release a

22      report about the Tymoshenko case on Thursday.          Finally."    Was

23      Thursday the date that was included in the master control grid?

24      A.   Tuesday is the 11th.      So, yes, it is.    It's Thursday, the

25      13th of December.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 52 of 158      1254


 1      Q.   Right.    So the date is right?

 2      A.   The date is right, yeah.

 3      Q.   Okay.    And he forwards that to you on December 11th?

 4      A.   That's right.

 5      Q.   Let's look now at 353.

 6                    MR. CAMPOAMOR-SANCHEZ:    Also in evidence.

 7      MR. CAMPOAMOR-SANCHEZ:

 8      Q.   Do you respond to Mr. Craig when he forwarded to you his

 9      conversation with Mr. Sanger?       His conversation by email, I

10      should say.

11      A.   Yes.

12      Q.   And how do you respond to Mr. Craig?

13      A.   "Thank you very much for this.       If you don't hear back from

14      him by 1500, it might be best to speak to your Post contact, as

15      time is short.     Is that okay with you?"

16      Q.   First of all, when you say, "It might be best to speak to

17      your Post contact, as time is short," what does that mean?

18      A.   So he had said that if Sanger wasn't interested, he had a

19      backup plan of somebody else he had a relationship with.           And I

20      can't remember the name.

21      Q.   And is that The Washington Post?

22      A.   I guess so, yes.

23      Q.   You don't recall now, as you sit here today?

24      A.   I don't know any other Post in the U.S.         Must be The

25      Washington Post.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 53 of 158        1255


 1      Q.     Did you have any contacts at the Post?

 2      A.     No.

 3      Q.     Whose idea was it to use the Post as a backup to

 4      Mr. Sanger, if he was not ready?

 5      A.     This is Greg's contact and idea.

 6      Q.     And did he respond to you when you told him about that?

 7      A.     Yes.   He said, "We are on it."

 8      Q.     And we're still on December the 11th?

 9      A.     We are still on December the 11th.

10      Q.     Let's look at Government's Exhibit 354.

11                    MR. CAMPOAMOR-SANCHEZ:     Also in evidence.

12      MR. CAMPOAMOR-SANCHEZ:

13      Q.     Did you then respond to Mr. Craig's telling you, "We are on

14      it"?

15      A.     Yeah, I did.

16      Q.     What did you say?

17      A.     I said, "Thank you.    They are pressing me for reassurance

18      here, so any update would be very welcome.          I hope the chat

19      goes well."

20      Q.     When you say "They are pressing me for reassurances here,"

21      what do you mean?

22      A.     You know, the -- getting close to the Report date, the

23      Manafort people were just getting very flappy.

24      Q.     What does that mean?

25      A.     They are having -- they were having a flap.       You know, they
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 54 of 158       1256


 1      were getting panicky, and they were obviously under a lot of

 2      pressure, and, you know, getting questions from the government.

 3      And, you know, just constantly pressing for updates and

 4      reassurance.

 5      Q.   From the government of Ukraine?

 6      A.   Yeah.

 7      Q.   All right.    And why are they under pressure on December

 8      11th?

 9      A.   Because the -- you know, we -- you know, we're underway

10      with our very, very long-produced plan.         And we're only two

11      days to the day that this report finally reaches the public

12      domain and, you know, they're having a bit of a last minute

13      flap, or panic.

14      Q.   Okay.   And did Mr. Craig sort of respond and give you an

15      update?

16      A.   Yes, he did.

17      Q.   Let's look at Government's Exhibit 357.

18                   MR. CAMPOAMOR-SANCHEZ:     In evidence.

19      MR. CAMPOAMOR-SANCHEZ:

20      Q.   And is this an email to you?

21      A.   Yes, it is.

22      Q.   From Mr. Craig?

23      A.   Yes.

24      Q.   Still on the 11th?

25      A.   Yes.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 55 of 158          1257


 1      Q.   And what does Mr. Craig tell you?

 2      A.   "David Sanger has received the Report by email.             I am

 3      hand-delivering a hardcopy to his home this evening, on my way

 4      home.   He will tell us tomorrow if he wants to use it.            He will

 5      check with his deputy foreign editor."

 6      Q.   And do you have an understanding, when he wrote to you, "He

 7      will tell us tomorrow if he wants to use it," what he means?

 8      A.   Yes.   So, you know, like with the Daily Mail, which, you

 9      know, I spoke to and wasn't interested, he's going to come back

10      and say whether he was interested in this, you know, offer of

11      an exclusive about this report in the United States.             That's

12      what I understood.

13      Q.   And do you then respond to Mr. Craig's update about, you

14      know, the timing?     Sort of, like, they will let us know

15      tomorrow?

16      A.   Yeah, I did.

17      Q.   Let's look at Government's Exhibit 360.

18                  MR. CAMPOAMOR-SANCHEZ:      Also in evidence.

19                  THE COURTROOM DEPUTY:      360?

20                  MR. CAMPOAMOR-SANCHEZ:      360.

21      BY MR. CAMPOAMOR-SANCHEZ:

22      Q.   And what did you say to Mr. Craig in response to his update

23      about delivering an email to Sanger and the hand delivery to

24      the home?

25      A.   I said, "Thanks, Greg.      That's great.    And I've shared with
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 56 of 158     1258


 1      Rick.   We are both" --

 2      Q.   Let me -- let me stop you there.

 3                   Who's Rick?

 4      A.   Rick Gates.

 5      Q.   Is Mr. Gates actually copied on this email?

 6      A.   Yes, he is.

 7      Q.   All right.    Go on.

 8      A.   "We are both keeping our fingers crossed for David, and

 9      thank you for your efforts here, especially hand-delivering the

10      Report.    Although we understand that he needs to run it by the

11      deputy foreign editor, Rick has pointed out that if the meeting

12      in which this is discussed is at 11 a.m., it would leave us

13      little time to take the Report to your contact at the Post, or

14      to Al Hunt, the Bloomberg person, if the Times decided not to

15      go with this.

16      Q.   Let me stop you there for a second.

17                   So, Mr. Hunt, which you had seen in the -- in the

18      previous master control grids, what was his potential role now?

19      A.   He's like a backup plan.

20      Q.   Okay.   Go on.

21      A.   "Did you get a view on how keen David was to run this and

22      his confidence in getting to print, based on your conversation?

23      Rick is wondering whether we should wait until David reports

24      back before engaging with the Post, etcetera.          What are your

25      thoughts?"
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 57 of 158   1259


 1      Q.   And, again, when you're making reference to the Post twice

 2      here in your communication, what are you referring to -- making

 3      reference to?

 4      A.   This is, you know, your contact at The Washington Post

 5      above.

 6      Q.   And did Mr. Craig respond above to your questions and

 7      stated concerns?

 8      A.   Yes, he did.

 9      Q.   What did he say?

10      A.   He said, "We told Sanger that it was his, if he wanted to

11      use it.    He agreed to get back to us with an answer tomorrow.

12      Tomorrow is not too late for Al Hunt or The Washington Post.

13      Greg."

14      Q.   And, again, this is still on December 11th?

15      A.   Yeah.

16      Q.   Let's look at Government's Exhibit 364.

17                    MR. CAMPOAMOR-SANCHEZ:    Also in evidence.

18      MR. CAMPOAMOR-SANCHEZ:

19      Q.   This is an email from you?

20      A.   It is.

21      Q.   To whom?

22      A.   Tom Parfitt is the -- he was the Moscow correspondent at

23      the Daily Telegraph who I was referred to by my contact at the

24      Daily Telegraph in London.

25      Q.   But who is your email to?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 58 of 158   1260


 1      A.   Oh, I'm terribly sorry.      It's to Greg -- it's to

 2      Greg Craig.

 3      Q.   Is the email about Mr. Parfitt?

 4      A.   Yes, it is.    Yeah.

 5      Q.   All right.    So, can you read the email to the ladies and

 6      gentlemen of the jury, please.

 7      A.   "Tom Parfitt at the Daily Telegraph will call very shortly.

 8      He's a very nice bloke.      He will certainly ask you about the

 9      difference between selective and political prosecution, by the

10      way."

11      Q.   So, why had you contacted Mr. Parfitt?

12      A.   Seeding.

13      Q.   Okay.    And why are you emailing Mr. Craig about a call he's

14      about to receive from Mr. Parfitt?

15      A.   Because he was going to reactively speak to Tom Parfitt

16      and, you know, have a discussion with him.

17      Q.   And had you had a discussion with Mr. Craig about the fact

18      that that might happen?

19      A.   Yes.

20      Q.   Let's look at Government's Exhibit 375.

21                   MR. CAMPOAMOR-SANCHEZ:     Also in evidence.

22      MR. CAMPOAMOR-SANCHEZ:

23      Q.   And is this an email you sent?

24      A.   Yes, it is.    Yep.

25      Q.   To whom?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 59 of 158        1261


 1      A.   To Greg.

 2      Q.   Which date?

 3      A.   This is the next day, the 12th of December; day before the

 4      release of the Report.

 5      Q.   Can you read to the ladies and gentlemen what you wrote to

 6      Mr. Craig?

 7      A.   "Hi, Greg, Apologies for interrupting you.         Rick's asked me

 8      to get in touch to see if you've heard anything from the Times

 9      on when the story will appear.        He is anxious that they know

10      that the story will become public in Ukraine at 3 a.m. Eastern

11      tomorrow, when the MOJ puts out its statement.          If you hear

12      anything, could you please email us both so that he stops

13      fretting?"

14      Q.   Why were you emailing Craig about this?

15      A.   I was instructed to email Greg by Rick Gates, who is now on

16      the ceiling himself.

17      Q.   Why is that?

18      A.   He was panicking.

19      Q.   But, why?

20      A.   Because he's under so much pressure to deliver The New York

21      Times story.

22      Q.   And when is the --

23                   MR. MURPHY:   Objection, Your Honor.

24                   THE COURT:    Sustained.

25                   MR. CAMPOAMOR-SANCHEZ:     Sorry.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 60 of 158           1262


 1                   THE COURT:   All right.    We can ask Mr. Gates.       Ask

 2      your next question.

 3                   MR. CAMPOAMOR-SANCHEZ:     Thank you, Your Honor.          Will

 4      do.

 5      MR. CAMPOAMOR-SANCHEZ:

 6      Q.    All right.   Do you recall if Mr. Craig responded to you or

 7      you talked to him about it?       If you recall.

 8      A.    Yeah, I'm pretty sure he emailed back, you know.           Yes.

 9      Q.    Well, did you talk to him, by the way, about Mr. Parfitt?

10      Or do you know if Mr. Parfitt ever reached Mr. Craig?

11      A.    Yeah, they spoke.

12      Q.    Let's look at Government's Exhibit 384.

13                   MR. CAMPOAMOR-SANCHEZ:     Also in evidence.

14      MR. CAMPOAMOR-SANCHEZ:

15      Q.    Let's first look at the second email.

16                   So, who is -- do you have it?

17      A.    Yep.

18      Q.    And what is this email about?

19      A.    "Report coverage" is the subject, and it's an email from

20      Rick Gates to Paul with loads of people copied in.

21      Q.    So who are the other people that are copied in this email?

22      A.    So Konstantin Kilimnik, who's the Manafort person who's

23      responsible in Ukraine for dealing with the ministries; so, the

24      direct contact.     Eckart Sager, who is the German guy who was --

25      along with Alan Friedman, worked at the Ministry of Foreign
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 61 of 158        1263


 1      Affairs, who's responsible for political engagement.             And me,

 2      media.

 3      Q.   All right.    And Mr. Gates writes, "P, here is an update as

 4      of 8 a.m. Ukraine time.      Below are two articles thus far that

 5      have been published from The New York Times and The Telegraph.

 6      Overall, the strategy of targeting is -- a few select

 7      journalists was absolutely the right one."

 8                  And let me ask you, first, is that accurate?           Was the

 9      strategy of targeting a few select journalists part of the

10      media rollout plan for the Skadden report?

11      A.   Yeah, we were on track.

12      Q.   He continues.    "There are good quotes on selective

13      prosecution in the articles.       My only disappointment is one of

14      GC's quotes in The New York Times article about -- in The New

15      York Times article, but that was part of the strategy in using

16      him via The New York Times."

17                  What was the strategy, if you know, of using

18      Mr. Craig via The New York Times?

19      A.   What was the strategy?

20      Q.   Yes.

21      A.   The strategy was that he would respond to -- he would be

22      the person who would engage with the journalist on the back of

23      the seed.    So, he would speak to the journalist at The New York

24      Times to answer any questions, you know, about the Report, and

25      to ensure that the journalist was fully informed on the story.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 62 of 158       1264


 1      Q.   And he says -- he finishes, "He's much more direct and

 2      positive on the same matter in The Telegraph article.            We are

 3      getting ready to release the MOJ statement and the Report.

 4      More coverage coming."

 5                   So, first of all, as of the time you got this email,

 6      had the Ministry of Justice published the Skadden Report yet?

 7      A.   I think the publication of the Report was due to be at

 8      8 o'clock.

 9      Q.   And do you respond to Mr. Gates' email?

10      A.   Yeah, I did, I'm afraid.

11                   THE COURT:   Before we talk about that, can you all

12      just approach briefly?      I just --

13                   MR. CAMPOAMOR-SANCHEZ:     Yes.

14                   THE COURT:   -- want to talk about scheduling issues.

15                   (Bench discussion:)

16                   THE COURT:   Two things.    First of all, I don't want

17      to break of your flow, but I would like to give them a break at

18      some point.

19                   MR. CAMPOAMOR-SANCHEZ:     Five minutes.

20                   THE COURT:   Five minutes is all you have?

21                   MR. CAMPOAMOR-SANCHEZ:     Yes.

22                   THE COURT:   Okay.   There is a motion to reconsider my

23      ruling on the Manafort "well done" email, which I haven't

24      announced my intentions.       Were you planning to use that as part

25      of your conclusion with this gentlemen?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 63 of 158      1265


 1                  MR. CAMPOAMOR-SANCHEZ:      No.

 2                  THE COURT:    Okay.   That's what I wanted to talk

 3      about.

 4                  MR. CAMPOAMOR-SANCHEZ:      Thank you, your Honor.

 5                  (Open court:)

 6      MR. CAMPOAMOR-SANCHEZ:

 7      Q.   Can we -- let me go to the top of 384, please.

 8                  We were talking about whether you email Mr. Gates in

 9      response to the email we were just read at.

10      A.   Yes, I did.

11      Q.   Can you read to the ladies and gentlemen of the jury what

12      you wrote to Mr. Gates?

13      A.   "Rick, His quotes to The Telegraph were also massively

14      helpful, but I changed them.       He might be pissed about that, if

15      he finds out."

16                  THE COURT:    Okay.   All right.    Well, I think you

17      missed a word.

18                  THE WITNESS:    Oh, did I?    So sorry.

19                  THE COURT:    Okay.   Try again.

20                  THE WITNESS:    "His quotes to The Telegraph were also

21      not massively helpful, but I changed them.          He might be pissed

22      about that, if he finds out."

23      BY MR. CAMPOAMOR-SANCHEZ:

24      Q.   I think we did not hear the "not."

25      A.   Oh, I'm sorry.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 64 of 158   1266


 1      Q.   But, there's a "not massively."       There's "not" in front of

 2      the "massively."

 3      A.   Definitely "not massively helpful," yep.

 4      Q.   Okay.

 5                   So, did you change Mr. Craig's quotes to The

 6      Telegraph?

 7      A.   Yeah.   I tightened a bit of -- he had many quotes, but I

 8      tightened a bit of one of them to ensure that several points

 9      were within it.

10      Q.   And why did you do that, sir?

11      A.   Needed to ensure that everything was in the story.

12      Q.   Did you ever tell them that you had done that?

13      A.   No.

14      Q.   All right.    Did he ever complain about it to you?

15      A.   No, he didn't.     He didn't notice it, I don't think.

16      Q.   Okay.   Can we look at -- do you have the article there in

17      front of you?

18      A.   Yeah, I do.

19      Q.   Okay.   Can you tell us which part of the article you were

20      referring to when you said that you changed the quotes, and

21      tell us the page?

22      A.   So the article -- I think the article has got three chunks

23      of quote.

24      Q.   Uh-huh.

25      A.   The first quote is a negative --
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 65 of 158        1267


 1      Q.   Wait.

 2                   MR. CAMPOAMOR-SANCHEZ:     Can I -- can I approach, Your

 3      Honor?     I just want to look where he's pointing --

 4                   THE WITNESS:   Oh, sorry.

 5                   MR. CAMPOAMOR-SANCHEZ:     -- so I can identify --

 6                   THE WITNESS:   I'm on 4.

 7                   MR. CAMPOAMOR-SANCHEZ:     You're on 4 of 384.      Okay.

 8                   Can we go to page 4 of 384, the bottom part?

 9      A.   So, this is the full article, without the headline.            And,

10      you know, the headline is, Trial of Ukraine's Tymoshenko

11      Flawed, Says Government-Commissioned Report.

12                   And then there's an introduction, couple of

13      introductory paragraphs.       And then there's a paragraph with the

14      first quote from Greg, which I didn't touch.

15      BY MR. CAMPOAMOR-SANCHEZ:

16      Q.   Okay.    So are you at the bottom?

17      A.   No.    I'm third paragraph down.

18      Q.   Oh, I'm sorry.

19      A.   Do you want me to read it?       Would that --

20      Q.   Sure.    Go ahead.

21      A.   So his first quote was, "We concluded there are ways in

22      which Tymoshenko was not given a fair trial:          She was not

23      allowed to present all of the witnesses that we concluded were

24      relevant and material, and prosecutorial evidence was presented

25      during proceedings in court, when she was not represented by
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 66 of 158     1268


 1      counsel."

 2      Q.   Did you change that?

 3      A.   No.    It was a negative quote.     So, you know, I knew that

 4      was important, so I didn't touch it.

 5      Q.   All right.    Can we go down below, then?

 6      A.   Then there's the bit in the middle, where the -- so, it was

 7      a long, long interview.      And, so, all I asked is that the

 8      journalist included several points.        That was the bits in

 9      quotes:    Warranted sanctions in Western courts, including

10      charges of contempt, selective prosecution, had not been

11      established.     And said, We do not believe that Ms. Tymoshenko

12      has provided specific evidence of political motivation that

13      would be sufficient to overturn a conviction under American

14      standards.

15      Q.   I'm sorry.    Were you reading at the bottom of this page?

16      A.   I'm just, like, a little -- a paragraph up from the bottom,

17      after the three little bullety bits.         This is the bit I

18      condensed.

19      Q.   Okay.   Did you change its meaning?

20      A.   No, I didn't.    No.   I just compacted it, you know, which is

21      quite a normal thing if you're trying to get a lot in, you

22      know.   But, you know, I didn't tell Mr. Craig.         And, you know,

23      in all honesty, I should have, yeah.

24      Q.   All right.    So when you went to the -- when you told

25      Mr. Gates "I changed them," you didn't say, "I just modified
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 67 of 158       1269


 1      them slightly"?

 2      A.    No.    I suppose I didn't, really, no.

 3      Q.    So why do you tell Mr. Gates --

 4      A.    Showing off, probably.

 5      Q.    Huh?

 6      A.    I think I was probably showing off.

 7      Q.    Okay.

 8                    Now --

 9                    THE COURT:    I'm sorry.   Are these excerpts in the

10      article that you suggested changes to?

11                    THE WITNESS:   No.   I suggested including them all.

12                    THE COURT:    That you proposed to the reporter they be

13      included?

14                    THE WITNESS:   Yeah.

15                    THE COURT:    Are these -- the words that are in

16      quotes, do these purport to be quotes from an interview from

17      Craig or quotes from the Report?

18                    THE WITNESS:   They're kind of both, because, you

19      know, he was using words from the Report in his discussion.           He

20      was speaking to the Report in the way that he said he was going

21      to.

22                    MR. MURPHY:    Objection, Your Honor.    Hearsay.

23                    THE COURT:    I'm just trying to figure out what -- I'm

24      just seeing this one paragraph pulled out, and I'm trying to

25      figure out what you -- well --
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 68 of 158     1270


 1                   THE WITNESS:   I didn't write it.      What I did is, I

 2      suggested that these were the bits that would -- were

 3      important.

 4                   THE COURT:   All right.

 5                   MR. CAMPOAMOR-SANCHEZ:     Would the Court like me to

 6      just zoom in on the entire second half, instead of that

 7      paragraph?

 8                   THE COURT:   I think that might be helpful.

 9      BY MR. CAMPOAMOR-SANCHEZ:

10      Q.   So can you just -- you can even point with your finger.

11      Like, where were the points you said you changed?

12      A.   (Indicating.)

13      Q.   So it was the paragraph we had zoomed in?

14      A.   Yeah.   And then there's another quote at the end.

15      Q.   Did you change that, too?

16      A.   No.

17      Q.   Okay.   But there's another quote from Mr. Craig, you mean?

18      A.   Yes, there is.     Yeah.

19      Q.   Is that on page 3?

20      A.   It's at the end.     So he has a top, a middle, and a bottom.

21      Q.   And what are you talking about here?

22      A.   Um -- should I circle it?

23      Q.   Yeah, you can.     Sure.

24                   And did you change that quote?

25      A.   No, I didn't.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 69 of 158        1271


 1      Q.   So, let's step back and go back to the email, 384.

 2      A.   384?

 3      Q.   Yeah.    It's the first page.

 4      A.   All right.

 5      Q.   So, Mr. Hawker, was the strategy successful?

 6      A.   We got the articles we planned to get, you know.            And, you

 7      know, it started the reporting of the story in the way that

 8      we'd hoped.

 9      Q.   And if we can take a look at the front page of 384.           Let's

10      look at the heading.

11                   The heading said, "Failings Found in Trial of Ukraine

12      Ex-Premier."

13                   That is a -- is that a good or bad heading?

14      A.   It's not the heading we wanted, but, you know, you can't

15      write the story.

16      Q.   Okay.    And if you look at the next page.

17      A.   Of The New York Times?

18      Q.   Yes.

19                   MR. CAMPOAMOR-SANCHEZ:     Zoom in on the first two

20      paragraphs, where it says, "But overall, the lawyers from the

21      firm of Skadden, Arps, Slate, Meagher & Flom seem to side

22      heavily with the government of President Viktor Yanukovych,

23      which commissioned the Report."

24      MR. CAMPOAMOR-SANCHEZ:

25      Q.   Was that helpful?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 70 of 158    1272


 1      A.   That's helpful.

 2      Q.   And what about the next paragraph?        "The trial court based

 3      its findings of Tymoshenko's guilt on factual determinations

 4      that had evidentiary support in the trial record, the lawyers

 5      wrote."

 6                   Was that helpful?

 7      A.   Yes.

 8      Q.   "Based on my review of the record," they added, "We do not

 9      believe that Tymoshenko has provided specific evidence of

10      political motivation that would be sufficient to overturn her

11      conviction under American standards."

12                   And was that also helpful?

13      A.   Yes.

14      Q.   Almost done, Mr. Hawker.

15                   MR. CAMPOAMOR-SANCHEZ:     We can take that down.

16      MR. CAMPOAMOR-SANCHEZ:

17      Q.   In the conversations that you had with Mr. Craig in

18      December with the communications to Mr. Sanger, did he express

19      any hesitation about talking to Mr. Sanger?

20      A.   No.

21      Q.   Did he express any reservations to you about participating

22      in the media rollout plan?

23      A.   No.    Not in December, no.

24      Q.   Did he express any reservations about talking to

25      Mr. Parfitt?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 71 of 158      1273


 1      A.   No.

 2      Q.   And throughout, did he keep you updated about the progress

 3      of his efforts?

 4      A.   Yes.

 5      Q.   And during 2013, did Mr. Craig ever reach out to you to

 6      discuss an inquiry about the Department of Justice?

 7      A.   No.

 8      Q.   And, finally, sir -- I forgot to ask you yesterday -- how

 9      was FTI paid?

10      A.   Through a strange bank account in Cypress.

11      Q.   Do you remember the name?

12      A.   Black Sea something or other.

13      Q.   Okay.    And do you know who controlled that?

14      A.   No idea whatsoever.

15                   MR. CAMPOAMOR-SANCHEZ:     No further questions, Your

16      Honor.

17                   THE COURT:   All right.    Before the defense has an

18      opportunity to cross-examine this witness, all of us, I

19      believe, are due our midmorning break, and so we're going to

20      take it now.

21                   Please remember that this case has not been submitted

22      to you, and it's not to be discussed or researched further

23      while you're on your break.       We'll resume in approximately ten

24      minutes.     So, please be back in the jury room by that time.

25                   (Whereupon the jury exit the courtroom.)
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 72 of 158      1274


 1                  THE COURT:    All right.    Everyone else is excused as

 2      well.

 3                  Thank you.

 4                  THE WITNESS:    Thank you, Your Honor.

 5                  (Recess.)

 6                  THE COURTROOM DEPUTY:      Your Honor, recalling Case

 7      Number 19-125, the United States of America v. Gregory B Craig.

 8                  THE COURT:    All right.    Can we bring the jury back?

 9                  (Whereupon the jury enters the courtroom.)

10                  THE COURT:    All right.    We've got all the jurors

11      back.   Defense can cross-examine the witness.

12                  MR. MURPHY:    Thank you, Your Honor.

13                                CROSS-EXAMINATION

14      BY MR. MURPHY:

15      Q.   Good morning, Mr. Hawker.

16      A.   Good morning.

17      Q.   My name is Bill Murphy.      I represent Greg Craig.

18                  We've never met before, have we?

19      A.   We have not.

20      Q.   Did you know that I asked to meet with you?

21      A.   Yes.

22      Q.   And you declined?

23      A.   Yes.

24      Q.   Now, you have been interviewed, however, by government

25      agents about these matters on several occasions, is that true?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 73 of 158   1275


 1      A.   Yes, it is.

 2      Q.   You were interviewed the first time, I think, on January

 3      the 9th, 2018?

 4      A.   I don't recall the dates, but I certainly have been

 5      interviewed.

 6      Q.   That was in Washington.      Do you remember the first

 7      occasion?

 8      A.   Yes.

 9      Q.   That was the better part of a full day?

10      A.   Yes, it was.    Yes.

11      Q.   And then you were interviewed for a second time in July of

12      2018?

13      A.   Yes, I was.

14      Q.   And that was in New York City?

15      A.   Yes, it was.

16      Q.   And among the people that were present at that interview

17      were Mr. McCullough, who's seated at the counsel table today?

18      A.   Yes.

19      Q.   And Agent Kegl, the FBI agent?

20      A.   Yes.

21      Q.   Mr. Kegl is seated in the first row?

22      A.   I didn't know his name.      Yes.

23      Q.   You didn't know his name?

24      A.   No.

25      Q.   And then you were interviewed a third day, and I think that
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 74 of 158   1276


 1      was a two-day interview, here in Washington, January the 23rd,

 2      and 24th of this year.      Do you recall that?

 3      A.   I recall being interviewed.       I don't remember it being two

 4      days, but it may very well have been.

 5      Q.   Agent Kegl was there.      Do you recall him?

 6      A.   Yes, he was.

 7      Q.   And Mr. Campoamor-Sanchez was there?

 8      A.   I presume so.    I don't remember.

 9      Q.   You don't remember him being there?

10      A.   I remember being there, I just don't remember who was

11      there.

12      Q.   Mr. McCullough was there, right?

13      A.   Possibly, yeah.     I just don't remember.

14      Q.   All right.    And you got into town a few days ago, is that

15      right, here in Washington?

16      A.   I've been here forever.      Since -- a week last Sunday.

17      Q.   So you've been here since last Sunday?

18      A.   Yep.

19      Q.   So that's nine days ago?

20      A.   Feels like a longer one.      But, yeah.

21      Q.   Were you interviewed by any of the agents of the government

22      during that period, between last Sunday and yesterday, when you

23      took the witness stand?

24      A.   Yes, I've met them.

25      Q.   How many times?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 75 of 158        1277


 1      A.   I think it's three.     But --

 2      Q.   And were they long sessions?

 3      A.   No, they weren't particularly long.        No.   They weren't,

 4      like, the whole day ones, you know, from before.

 5      Q.   Okay.   So, by my count, that sounds like six separate

 6      interviews that you had with the government agents?

 7      A.   Yeah, must be.     Must be.

 8      Q.   Okay.   Were there occasions when you were interviewed when

 9      you told the government agents that things that you had told

10      them before you had misremembered, and you corrected them?

11      A.   Yes, definitely.

12      Q.   And a lot of the events that we're talking about -- in

13      fact, all the events we're talking about took place in 2012,

14      right?

15      A.   Long time ago.

16      Q.   Long time ago.     And it was hard for you to remember exactly

17      what happened?

18      A.   Very much so, yep.

19      Q.   And so there were a couple of corrections that you needed

20      to make because you had told the agents of the government one

21      version of the facts, and later discovered that you were wrong

22      about your recollection, right?

23      A.   Yeah.   You know, documents spark, you know, fresh memories

24      and -- yeah.     You know, but you want to get it right.

25      Q.   Okay.   One of the things, for example, that you talked
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 76 of 158    1278


 1      about in your second interview, but that you corrected in your

 2      third interview, was whether there was a pre-meeting before the

 3      Harvard Club meeting at which you gathered with Mr. Manafort

 4      and Mr. Gates in the morning in order to try to strategize

 5      about ways to convince Mr. Craig to be more cooperative and

 6      more engaged with the media plan, right?

 7      A.    Yes, that's correct.     I got the sequence the wrong way

 8      around.    Yeah.

 9      Q.    And so, that meeting that you described in some detail on

10      that date, to the agents, actually had not occurred before the

11      Harvard Club meeting, had it?

12      A.    You're correct.

13      Q.    And what you then remembered was, well, we had a meeting in

14      Kyiv the week before at Mr. Manafort's suite, at Mr. Manafort's

15      hotel in Kyiv, right?

16      A.    We did.

17      Q.    Some of the same people gathered at that meeting?

18      A.    Yeah.   There's been a lot of meetings, so I just mixed them

19      up.

20      Q.    So Manafort was there, it was his suite, right?

21      A.    Which one are you talking about?

22      Q.    The one in Kyiv, on or about September the 18th, 2012.

23      A.    I don't remember the dates.

24      Q.    We'll look at the documents.

25      A.    I certainly attended a meeting at Mr. Manafort's hotel room
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 1      with others, yeah.

 2      Q.   Was Mr. van der Zwaan there?

 3      A.   I can't remember.

 4      Q.   Was Mr. Kilimnik there?

 5      A.   Yes.

 6      Q.   Was Mr. Gates there?

 7      A.   I don't remember.     I don't remember.     It's a long time ago.

 8      Q.   Was the purpose of the meeting on or about September the

 9      18th at Mr. Manafort's hotel suite in Kyiv, was part of the

10      purpose, at least, to strategize about how to get Mr. Craig to

11      become more cooperative with the media plan that you had been

12      designing for many months?

13      A.   I don't remember.

14      Q.   Do you remember that there was such a meeting, a strategy

15      meeting at which Mr. Greg Craig was not present?

16      A.   He wasn't present at most of our meetings.

17      Q.   Okay.   And then after the Harvard Club meeting, on or about

18      September 25th or 26th, you met with Mr. Manafort to talk about

19      what Mr. Craig had said at the Harvard Club meeting, right?

20      A.   To talk about the email that Mr. Craig had sent, which

21      said, you know, I wanted to help but now I can't because of

22      firm policy.

23      Q.   That was another strategy meeting to see whether you could

24      convince, or someone could convince Mr. Craig to become more

25      cooperative with the plan, right?
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 1      A.   Yeah.    It was a meeting to discuss what we were going to do

 2      about the plan, now that we were likely not going to be able to

 3      have Greg, you know, participate.        And the meeting in which

 4      Paul, you know --

 5      Q.   What you remember, essentially, is that Mr. Manafort said

 6      something along the lines of he would take care of it, right?

 7      A.   Yeah, exactly.     Yeah.

 8      Q.   When you first met with Mr. Craig in the Ukraine, one of

 9      the very first times you saw him, you had some discussion about

10      how he viewed FTI's role and Skadden's role in connection with

11      the Tymoshenko Report, right?

12      A.   Yes, we did.    Yeah.

13      Q.   And he made it quite clear to you that he thought those

14      roles were separate?

15      A.   Yes, he did.

16      Q.   And he made it clear that he did not want FTI and its

17      personnel, including yourself, to be involved in any way in

18      putting a public relations spin or message into the conclusions

19      of the Report that Skadden was working on and preparing, isn't

20      that right?

21      A.   Greg never asked FTI to participate in the writing of the

22      Report.

23      Q.   In fact, he made it clear to you that he did not want the

24      public relations aspect to influence the outcome of the Report,

25      isn't that right?
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 1      A.   I don't recall him ever saying that.

 2      Q.   Do you remember saying, from your perspective, it seemed

 3      like Mr. Craig had an academic interest in the issues

 4      surrounding the Tymoshenko trial, he wanted to complete his

 5      report and he didn't want to have anything to do with FTI until

 6      the Report was done?

 7      A.   Yeah, I think that's a fair assessment.         Yeah.

 8      Q.   And you found Mr. Craig, on occasions, to be sort of

 9      prickly with you, is that fair?

10      A.   I think I probably did upset him.

11      Q.   In fact, you described the fact that your view during the

12      time that you were in the Ukraine, you thought that Mr. Craig

13      viewed you as -- I think what you called a pain in the behind,

14      isn't that right?

15      A.   I -- you know, I think probably fairly, because I'm acting

16      for my client, the government of Ukraine, and I have a

17      different, you know, role.

18      Q.   So you understood that your role, acting for the government

19      of Ukraine, was to put out a message the best you could that

20      would be acceptable to the government of Ukraine, right?

21      A.   Yeah, my job was to use the PR materials that were

22      developed, you know, as part of all of these plans you've

23      already heard about, to help the government of Ukraine to

24      achieve its strategic objective, which was to try to influence

25      people, particularly in the European Union, because of
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 1      membership -- associate membership status.

 2      Q.    Did you understand that the lawyers at Skadden had a

 3      different goal?      And their goal was to write an independent

 4      report on the Tymoshenko trial and whether her rights had been

 5      violated in accordance with standards of western due process?

 6      A.    Absolutely.    In fact, Mr. Craig was very clear from the

 7      start, this would be an independent report, they would write

 8      it.   And, you know, that's normal, you don't want a PR company

 9      trying to do a legal analysis of anything.

10      Q.    All right.    Now, I want to take you back to the beginning

11      of the engagement.

12                     Can we look at Government's Exhibit 116, please?

13      A.    Is that in Volume 1?

14      Q.    It is.    And you can follow along on the screen.          There are

15      some binders there.         There are some defense exhibits and some

16      government exhibits, and I'm not sure --

17      A.    Did you say 161?

18      Q.    116.   And it's Government's Exhibit 116.

19      A.    Sorry.    I have no idea what I'm looking at.

20                     THE COURT:    It may be on your screen, if that helps.

21      But it's really small.

22                     MR. MURPHY:    There's a lot of documents.

23                     THE WITNESS:    Thank you, sorry about that.

24                     THE COURTROOM DEPUTY:    Mr. Murphy, is this already in

25      evidence?
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 1                   MR. MURPHY:   I think it's been admitted.

 2                   THE COURTROOM DEPUTY:     Thank you.

 3      BY MR. MURPHY:

 4      Q.   There is an email exchange between you and a Mr. Bhavnani?

 5      A.   That's right.

 6      Q.   He was an FTI person?

 7      A.   Yes, he is.    He might still be, actually.       He definitely

 8      was at the time.

 9      Q.   And you were discussing with him whether or not this was an

10      assignment that FTI would be willing to take on, right?

11      A.   Yeah.   Raoul was in charge of, like, a research function

12      and we were, obviously, with the PR agency.          You try and bring

13      in other parts of the business to try and increase the scope of

14      the work.    So I was having a discussion with Raoul about that.

15      Q.   If we just highlight the top email.        On May the 10th you

16      told Mr. Bhavnani, when he said we should be able to make this

17      work, your response was, "Hope so.        I need the work,"

18      exclamation point, right?

19      A.   Yeah.   I said yesterday that we were going through a bit of

20      an economic, you know, downturn in the UK and, you know, I was

21      worried about getting enough litigation work to keep my staff.

22      Q.   Now, if we look at Government Exhibit 118 -- and you looked

23      at it yesterday?

24      A.   Yes.

25      Q.   This was an email that you wrote to Mr. Reilly and you
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 1      copied Mr. Aarons, it's May the 11th of 2012?

 2      A.   Yes, it is.

 3      Q.   And this is the first time I think we saw that phrase,

 4      Project Veritas contract?

 5      A.   Yeah.

 6      Q.   And you described that name as sort of being tongue in

 7      cheek?

 8      A.   Yeah.    It was something that, you know, could be used

 9      positively, you know.       But, yeah, it was a bit of a joke, yeah.

10      Q.   A bit of a joke?

11      A.   A bit of a joke.

12      Q.   You mentioned in your email, in the third paragraphs, that

13      the consulting firm for the Ukrainian presidency -- which was

14      Manafort -- was coordinating your contractual arrangements,

15      right?

16      A.   Well, we hoped.

17      Q.   You hoped.    Okay.    And you became familiar with Manafort

18      Davis, the firm, right?

19      A.   I think -- isn't it Davis Manafort?

20      Q.   Maybe.   Davis Manafort.     You're probably right.

21      A.   We sometimes refer to it as DMP in the documents.

22      Q.   David Manafort Partners?

23      A.   Must be.    Must be.

24      Q.   That's who Mr. Gates worked for, right?

25      A.   Yes.    And Konstantin Kilimnik.
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 1      Q.   And you viewed Mr. Manafort, I think you've said in some of

 2      the documents, as kind of the big boss, in terms of your

 3      relationship?

 4      A.   You know, it's slightly odd.       You know, our client was

 5      Ukraine, the government of Ukraine, but all of our instructions

 6      were from the Manafort people, so they're the client, too.

 7      Q.   And on a day-to-day basis, for many months, the person that

 8      you took your directions from was Rick Gates, right?

 9      A.   Absolutely, yes.

10      Q.   You didn't even actually meet Mr. Manafort until much

11      later, isn't that right?

12      A.   I didn't meet him until a lot later, yeah.

13      Q.   Maybe August or September?

14      A.   I can't remember when, but I didn't meet him at the start.

15      Q.   You didn't meet Mr. Kilimnik at the start?

16      A.   No.   I didn't even know him at the start.

17      Q.   And he was a Russian, right?

18      A.   I think he still is.

19      Q.   Was and is a Russian?

20      A.   Definitely a Russian.

21      Q.   But he was sort of Mr. Manafort's person who did a lot of

22      the dealing with the Ukrainian ministers and government

23      bureaucrats?

24      A.   Yeah.   He started off as, like, an interpreter, because

25      Paul doesn't speak Russian, and then the role took on a life of
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 84 of 158    1286


 1      its own, as all of it did, really.

 2      Q.   Let's look at the last paragraph of this email separately.

 3                  You wrote, separately, "Skadden is of the view that

 4      the fact that our role is exclusive to Europe means that FTI

 5      would not be needed to register under FARA," right?

 6      A.   That's right.

 7      Q.   "They've taken that view themselves.        Can you advise

 8      whether Eric is comfortable with this also?"

 9      A.   Yes.

10      Q.   And you testified that Eric was a reference to Eric Miller,

11      who was the general counsel of FTI?

12      A.   Yes.

13      Q.   Did you ever hear back from Mr. Miller that there was a

14      problem?

15      A.   I don't think so, no.      I heard back from within the system

16      that they were comfortable.       I think it was Ed Reilly that sent

17      an email that basically said, Based on what we know, it's all

18      fine.

19      Q.   When you said, Skadden is of the view, as of May the 11th,

20      you had not met with Mr. Craig yet, had you?

21      A.   I don't believe so.     I said yesterday that this is

22      referring to a discussion with Alex van der Zwaan.

23      Q.   Alex van der Zwaan.     Now, let me ask you a little bit about

24      Mr. van der Zwaan.      He was an associate in the London office of

25      Skadden, right?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 85 of 158         1287


 1      A.   Yes, he was.    Yep.

 2      Q.   And he spoke Russian, right?

 3      A.   I thought he was half Russian, actually.          But, he was

 4      fluent in Russian.

 5      Q.   Did you come to learn that Mr. Manafort had made a job

 6      offer to Mr. van der Zwaan to lure him away from Skadden and to

 7      have him work for Mr. Manafort?

 8      A.   I'm learning it now, but I'm really unsurprised.

 9                  THE COURT:      All right.   Well --

10                  THE WITNESS:     Sorry.

11                  THE COURT:      You don't know.

12                  THE WITNESS:     I don't know.    Sorry.    I do apologize.

13      BY MR. MURPHY:

14      Q.   All right.    That's fine.    You say you're not surprised?

15      A.   I'm not surprised.

16                  THE COURT:      Well, there's no evidence in the record

17      that it happened.     It was a question; he doesn't know.        Ask

18      your next question.

19      BY MR. MURPHY:

20      Q.   Did it appear to you, during the period of time that you

21      were working in the Ukraine, that Mr. van der Zwaan was very

22      close to Mr. Gates and Mr. Manafort?

23      A.   Yes.   Particularly Mr. Gates.

24      Q.   And were there times when Mr. van der Zwaan did some things

25      that you thought Mr. Craig didn't know about?
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 1                  MR. CAMPOAMOR-SANCHEZ:      Objection.

 2                  THE COURT:    Can you approach the Bench?       Can we

 3      approach the bench?

 4                  (Bench discussion:)

 5                  THE COURT:    All right.    So you want to bring in the

 6      fact about that he had a copy of the Report.

 7                  MR. MURPHY:    Yeah.

 8                  THE COURT:    Now, he's testified at several points

 9      that he saw bits and pieces of the Report.          So why can't he ask

10      that question?

11                  MR. CAMPOAMOR-SANCHEZ:      It was really, then, to the

12      point -- I don't have any objection to him asking when he saw

13      the Report and how he saw the Report.         What I do have a problem

14      with is the way he phrased the question.

15                  THE COURT:    I think you can go through when did you

16      get the Report?     Who gave you the Report?      Do you know whether

17      Mr. -- do you know who -- through your own personal knowledge,

18      whether Mr. Craig knew about it or permitted it?

19                  MR. CAMPOAMOR-SANCHEZ:      Can we add to that, if the

20      Court allows, that he specify at the time?          Because he

21      certainly knows now.      But I just want to make sure that he asks

22      him at the time.

23                  MR. MURPHY:    I'll ask him.     But --

24                  THE COURT:    Well, I mean, I think --

25                  MR. CAMPOAMOR-SANCHEZ:      Just like to start with the
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 87 of 158    1289


 1      answer.     Sorry.   So...

 2                    THE COURT:     Your question that bought us up here was

 3      whether Mr. van der Zwaan did things that Mr. Craig didn't know

 4      about.    And if he's learned, through the course of his

 5      investigation -- so that's -- so the questions have to be at

 6      that time did you know whether he had Mr. Craig's permission?

 7                    MR. CAMPOAMOR-SANCHEZ:      No objection to that.

 8                    MR. MURPHY:    Okay.   That's fine.

 9                    THE COURT:     All right.

10                    MR. MURPHY:    Thank you.

11                    (Open court:)

12      BY MR. MURPHY:

13      Q.   Mr. Hawker, you testified, either yesterday or this

14      morning, that there were times in the summer when you were very

15      anxious to see either a draft of the Report or the final

16      report, isn't that right?

17      A.   Yes.

18      Q.   And you testified that at some point you got a look at a

19      draft of the Report?

20      A.   That's right.

21      Q.   Right?

22      A.   Yes.

23      Q.   And you were able to review it?

24      A.   Yes.

25      Q.   But you didn't get a copy?
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 1      A.   No.   No, it was a bit weird.

 2      Q.   It was a bit weird.     And you had asked -- isn't it true you

 3      asked Mr. Gates to see -- let me -- strike that.           Start over.

 4                   You had asked Mr. Craig directly if you could get a

 5      copy of the Report, didn't you?

 6      A.   I tried to get a copy of the Report from Mr. Craig and he

 7      said it wasn't ready.      We were coming up to one of these

 8      publication dates and so we were under a lot of pressure and I

 9      kind of needed the draft to make a start.         And so what happened

10      is I reported back to Mr. Gates that I couldn't get it and then

11      he arranged for me to see a copy through Alex van der Zwaan.

12      Q.   When you say he arranged for you to see a copy through

13      Alex van der Zwaan, what happened is you called Mr. Gates and

14      you said, Mr. Craig has said I'm not going to get a copy yet,

15      and then Mr. Gates told you to go to Mr. van der Zwaan's room

16      in the hotel in Kyiv, isn't that right?

17      A.   It's not quite right, but almost.

18      Q.   When you got to the room, Mr. van der Zwaan had left a copy

19      for you to read?

20      A.   No, he was in the room.

21      Q.   He was in the room?

22      A.   Yeah.    And he said to me, There's a copy of the Report on

23      my desk.     I'm going to go out now for a period of time -- I'm

24      pretty sure it was, like, half an hour -- do what you like and

25      I'll see you later.      And I took that as, okay, he wants me to
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 1      read the Report.       And I made a few notes in the half an hour I

 2      was allowed to see it, and that was that.

 3      Q.     And based on that experience, did you conclude that

 4      Mr. van der Zwaan was doing some things that Mr. Craig didn't

 5      know about?

 6                      MR. CAMPOAMOR-SANCHEZ:   Objection to the form of the

 7      question.

 8                      THE COURT:   The question is:   Did you know at that

 9      time whether Mr. van der Zwaan had Mr. Craig's authorization to

10      show you, or not?

11                      THE WITNESS:   I thought it was extremely unlikely

12      that Mr. van der Zwaan would have an authorization from Greg,

13      who just earlier told me that I couldn't have the Report.

14                      THE COURT:   Ask your next question.

15      BY MR. MURPHY:

16      Q.     You actually told the government about this little event

17      where you read the Report in Mr. van der Zwaan's room just

18      about a few days ago, on August the 18th, isn't that right?

19      A.     Sorry.    I thought you meant the Ukrainian government.    Yes,

20      I did.

21      Q.     The United States government.     I'm referring to these folks

22      here.

23      A.     Sorry.    When you say "government," I'm still stuck in

24      Ukraine.    Yes, I did tell it.      I remembered it subsequently,

25      yes.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 90 of 158      1292


 1      Q.   So, this was probably your fourth or fifth interview with

 2      government agents, and it's the first time that you remembered

 3      that little event, isn't that right?

 4      A.   It is, yeah.    It is.

 5      Q.   Okay.    Now let's take a look at Exhibit 119.        And this is

 6      an email.

 7                    If you blow up the top.    Thank you.

 8                    It's an email that Mr. Reilly sent to a whole group

 9      of people at FTI, including yourself, announcing the decision

10      that had been taken to represent the prosecutor general of the

11      Ukraine and his deputy in relation to a prosecution of the

12      oligarch and former prime minister of the country for abuse of

13      office and fraud, right?

14      A.   Right.

15      Q.   And it says that he had Reilly -- who I think you described

16      as the head of strategic communications?

17      A.   Yeah, PR; it's the same thing.

18      Q.   PR equals strategic communications?

19      A.   It does.

20      Q.   He was the worldwide head for FTI?

21      A.   Yes, he was.

22      Q.   And he said that he had discussed it with Mark

23      Malloch-Brown and there was a need to carefully manage the

24      engagement?

25      A.   Yes.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 91 of 158    1293


 1      Q.   And that Malloch-Brown, is he sometimes referred to as Lord

 2      Malloch-Brown?

 3      A.   He has a title.

 4      Q.   Was he a member of English Parliament?

 5      A.   There is no English Parliament.

 6      Q.   I'm sorry.    United Kingdom?

 7      A.   We do have one in the United Kingdom.        He was a member of

 8      the House of Lords, which is one of the two Houses of

 9      Parliament.

10      Q.   And was he a minister in one of the governments at the

11      time?

12      A.   Yeah, I think he might have been international development.

13      But I don't know, I don't know much about his career.

14      Q.   Did you come to find out that he and Mr. Reilly both were

15      acquainted with Mr. Craig from past events?

16      A.   Yeah, they have a political connection.

17      Q.   Okay.    And, in fact, if you go down to the third paragraph.

18                    Mr. Reilly stated, "This assignment will be

19      controversial and will carry some risk in that we are working

20      alongside Skadden, with our long-time friend and colleague,

21      Skadden partner Greg Craig.       We have comfort that this matter

22      will be handled with the utmost degree of professionalism and

23      sensitivity."     That's what he wrote, right?

24      A.   It is.

25      Q.   Now, did you ever find out that Mr. Craig had complained to
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 92 of 158   1294


 1      Mr. Reilly and Lord Malloch-Brown about your lack of

 2      professionalism?

 3      A.   Not really, no.

 4      Q.   Never heard that?

 5      A.   No.

 6      Q.   You left --

 7      A.   He never complained to me.

 8      Q.   You left FTI at some point, right?

 9      A.   Yeah.   I left in -- I think it was March 2014.

10      Q.   And your belief is that the failure of FTI to receive

11      approximately $300,000 in out-of-pocket expenses that had been

12      incurred on the Ukraine assignment was one of the reasons that

13      you were sort of on the outs with management, right?

14      A.   Yes.

15      Q.   And I think you've explained this as you saw the

16      handwriting on the wall and it was time for you to go?

17      A.   That's not my words.

18      Q.   You didn't say "handwriting on the wall"?

19      A.   I don't believe so, no.

20      Q.   Is that a fair and accurate description of how you felt in

21      '14 when you left?

22      A.   I felt it was my responsibility and that, you know, not

23      receiving such a huge amount of income, you know, or money

24      within to the system, you know, fell on my shoulders and I

25      chose to resign --
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 93 of 158     1295


 1      Q.   Okay.

 2      A.   -- sometime afterwards.

 3      Q.   Okay.   All right.     Were there any other issues involving

 4      your professionalism at the time?

 5                   Let me ask you about the Google matter.

 6      A.   What's wrong with that?

 7                   MR. CAMPOAMOR-SANCHEZ:     Objection.    Can we approach?

 8                   THE COURT:    Can you approach?

 9                   MR. MURPHY:    Sure.

10                   (Bench discussion:)

11                   MR. CAMPOAMOR-SANCHEZ:     I believe what Mr. Murphy is

12      getting at is later, in mid-2013, he took on a client that put

13      in an ad against Google and FTI didn't like it, so they had a

14      conversation with him at the time.        This is well after the

15      events in the case.       This happened in mid-2013.

16                   THE COURT:    Do you have evidence that he was fired

17      for or terminated for being unprofessional in any particular --

18                   MR. MURPHY:    I think Mr. Reilly, who we have under

19      subpoena, will testify that one of the reasons why he was asked

20      to leave was this Google matter, which Mr. Hawker has not

21      testified about.

22                   THE COURT:    I don't see the relevance.

23                   MR. MURPHY:    Okay.

24                   MR. CAMPOAMOR-SANCHEZ:     And I actually disagree with

25      what Mr. Reilly will say about it because I asked him a lot of
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 94 of 158        1296


 1      questions about it.       But be that as it may, I think it's

 2      irrelevant.

 3                   THE COURT:    You asked him if he knew about complaints

 4      about his unprofessionalism with respect to this, and he said

 5      no.   And so that's all he can tell you about that.          And I don't

 6      think this other matter is relevant.

 7                   MR. MURPHY:    But if he testifies in this Court, Your

 8      Honor, that there was no other issue, and in fact there was

 9      another issue, then his credibility is certainly at issue in

10      this case.    I think I should be entitled to ask him about this

11      matter that reflects on his credibility in this courtroom.

12                   MR. CAMPOAMOR-SANCHEZ:     So I already asked -- I did

13      not object to him asking about the reasons for leaving.          So

14      that's his understanding.       If he wants to try to impeach on a

15      collateral issue later --

16                   THE COURT:    If he says he was fired, he can say it

17      wasn't just the expense, we had been telling him for weeks we

18      were very upset with his professionalism.         But I don't think

19      you have anything more to ask him right now about this.          I

20      don't think that we're going to go down -- I don't think -- I

21      think you're trying to impeach his character with some specific

22      instance of his conduct that we don't even know had misconduct,

23      that's collateral to that case.

24                   So you've asked him for his story, for why he's no

25      longer there, and if he he's lying about that, then you put on
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 1      evidence about that; you put on evidence about that.

 2                  MR. MURPHY:    Okay.   But he has testified in this

 3      court and I think I should be entitled to ask whether his

 4      testimony wasn't a little bit misleading.

 5                  THE COURT:     What testimony?

 6                  MR. MURPHY:    About the reason why he left.

 7                  MR. CAMPOAMOR-SANCHEZ:      So he already told you why he

 8      thought he left.     He wasn't misleading.      That was his

 9      understanding.

10                  THE COURT:     You believe it's misleading --

11                  MR. MURPHY:    That's all right, Your Honor.

12                  THE COURT:     I've think we're done.     I don't want to

13      go further on that matter.

14                  MR. MURPHY:    That's fine.

15                  (Open court:)

16      BY MR. MURPHY:

17      Q.   Can we look next at Defendant's Exhibit 37?         And you might

18      have to switch books, Mr. Hawker, if you're trying to --

19      A.   Number two?    Two?

20      Q.   Wherever the defendant's exhibits are up there.

21                  THE COURTROOM DEPUTY:      It's admitted.

22                  MR. MURPHY:    It's been admitted.

23      BY MR. MURPHY:

24      Q.   Can I help you?

25      A.   I'm just trying to find the one you're referring to.
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 1      Sorry.

 2                   THE COURT:    All right.   Does he have a binder for

 3      defense exhibits?

 4                   MR. MURPHY:    Yes, he does.

 5                   THE WITNESS:   Is it this one?

 6                   THE COURT:    All right.

 7                   THE WITNESS:   Volume 1.

 8      BY MR. MURPHY:

 9      Q.   Defendant's 37?

10      A.   I'm sorry, which one did you want?

11      Q.   37.

12      A.   37.    Yep.

13                   THE COURT:    That's why we have screens for you, so

14      you don't need 27 binders.

15      BY MR. MURPHY:

16      Q.   This was an email that Mr. Aarons sent to Rick Gates and

17      copied you about your letter of engagement, and it's dated May

18      13, 2012, right --

19      A.   Yes.

20      Q.   -- at the beginning?

21                   And Mr. Aarons was your colleague with this

22      assignment?

23      A.   Yes.

24      Q.   There were some periods of time when you were both in the

25      Ukraine and some times he was there and some times you were
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 97 of 158            1299


 1      there, depending on schedules and other business engagements?

 2      A.    That's right.

 3      Q.    Mr. Aarons didn't get along very well with Mr. Gates, did

 4      he?

 5      A.    I don't think anyone would have.

 6      Q.    Okay.   Anyway, Mr. Aarons sent to Mr. Gates a draft letter

 7      of engagement and standard terms of business for the project,

 8      right?

 9      A.    That's right.

10      Q.    And attached to this document is a draft of a form of a

11      consulting agreement for FTI and someone, right?

12      A.    That's right.

13                    MR. MURPHY:   If we go to the second page.         If you

14      blow up the top part.       I'm sorry.

15                    You are right, John, I was wrong.

16                    Blow up the top part.

17                    I'm sorry.    That one, so the jury can see.

18      BY MR. MURPHY:

19      Q.    So this was dated May the 14th of 2012 and it says, "Dear,

20      add name.     Strategic communications services project."          So at

21      the time you didn't really know who your client was likely to

22      be, or who it was?

23      A.    We didn't know who was going to be the contracting party,

24      but the client was going to be the prosecutor general.

25      Q.    Okay.   If you look at Government Exhibit 121.        And
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 1      unfortunately I'm going in sort of chronological order, which

 2      requires you to switch back and forth.

 3      A.   I'll do my best.

 4                  THE COURTROOM DEPUTY:      Is this already in?

 5                  MR. MURPHY:    Yes.

 6      BY MR. MURPHY:

 7      Q.   I think you were asked about this document yesterday.            Now,

 8      this is the email from Matthew Cowie to you on May the 15th of

 9      2012 and it says, "Jonathan, I'm available for a call when you

10      are free from your meeting.       We resume at 2.     Greg has some

11      firm views about how we work together, which he is happy to

12      discuss in the lounge over some food at 6," right?

13      A.   Yes.

14      Q.   And that's the meeting when Mr. Craig described the

15      separateness between FTI's role and Skadden's role?

16      A.   Yeah, his firm views.

17      Q.   Now, let's look at Exhibit 128, Government Exhibit 128.

18      Should be in the same book?

19      A.   Are they all mixed up together.

20                  THE COURT:    One book has government exhibits in

21      chronological order, and then if he said defense exhibit,

22      that's in a different binder.

23      BY MR. MURPHY:

24      Q.   You should be in the same book you were just in.

25      A.   No, I'm not.
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 1                  THE COURT:    If they put them on the screen and

 2      they're directing your attention to any part in particular,

 3      they're going to call it out and it gets bigger.

 4                  THE WITNESS:    I'm sorry.    I'm struggling to see the

 5      screen.

 6                  THE COURT:    I have the same problem, but then they

 7      cut it out and it's easier to see.

 8                  MR. MURPHY:    Let's blow up the very top email here.

 9      BY MR. MURPHY:

10      Q.   Mr. Hawker, this was the email exchange that you were asked

11      about yesterday where you were involved in preparing some press

12      statements for the Ukraine Ministry of Justice about the fact

13      that they had hired Skadden, right?

14      A.   Yes.

15      Q.   Do you remember, sir, that after you did your work on that,

16      the Ukraine Ministry of Justice put out a press release?

17      A.   I don't remember.

18      Q.   You don't remember them doing kind of a poor job in terms

19      of explaining the project?

20      A.   Not at the moment.     Unless there's a document that

21      refreshes my memory, I don't remember it.

22      Q.   That's All right.

23                  Let's look next at Defendant's Exhibit 48.           And I can

24      blow up the document for you, if you prefer.

25                  And we start with the last page, page 4 of this
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 100 of 158    1302


 1       exhibit.     And this begins, this email exchange begins with an

 2       emailed from Mr. Aarons to Mr. Gates, dated May the 23rd, 2012.

 3       And the subject line was:      Still no cash or contract, right?

 4       A.   Yeah.

 5       Q.   And he copied you?     Mr. Aarons copied you, right?

 6       A.   That's absolutely right, he did.

 7       Q.   And in it Mr. Aarons says that there are a lot of things

 8       that FTI would like to be doing and working on, but you're

 9       going to want to wait until you have a contract and get paid,

10       right?

11       A.   Absolutely.

12       Q.   Among the things that he mentions is there should be a

13       dedicated media portal to serve the international media

14       embedded within the prosecutor's office website, and this would

15       be in English language, microsite, controlled directly by us

16       and populated with content, a range of back-grounders,

17       frequently asked questions, photo and video materials, key

18       events calendar and links to supportive online pieces, right?

19       A.   Yes.

20       Q.   Was that all in connection with the contemplated trial of

21       Ms. Tymoshenko that was expected to happen, the second trial?

22       A.   Sorry.    Sorry to interrupt.    It was broader than that.    It

23       was to professionalize the communications of them generally.

24       But, obviously, we were coming up to the second trial and it

25       would have played a part in it.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 101 of 158     1303


 1       Q.    As far as you know, the second trial never occurred, did

 2       it?

 3       A.    It was delayed, from what I remember, and it didn't

 4       proceed.

 5       Q.    So for a period of time it was delayed, and then nothing

 6       happened?

 7       A.    Very Ukrainian, yeah.

 8       Q.    Among the other things that Mr. Aarons discussed with

 9       Mr. Gates was having a research and sentiment tracking among

10       policymakers and opinion leaders across Europe.          And says you

11       or Burson-Marsteller -- I think that's BM?

12       A.    Yeah.   It was one of the other operations that the Manafort

13       operation had working for them, you know, across Europe:

14       Q.    "You or Burson-Marsteller may already have this underway.

15       If so, we'd welcome access to it to help inform our messaging

16       tactics"?

17       A.    That's right.

18       Q.    And Item 3 was a digital social media strategy, beginning

19       with detailed content analysis, followed by proactive content

20       generation and search engine optimization.         Right?   These were

21       all things that were part of a very broad and general upgrading

22       of the public relations apparatus that the Ministry of Justice

23       and prosecutor's office would have, right?

24       A.    Yeah.   They had bits of it, but it was all in Ukrainian and

25       Russian and it was a bit of a mess.        And so we were just trying
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 102 of 158   1304


 1       to make it more accessible internationally.

 2       Q.   Now, if you turn to the second page of the exhibit,

 3       Mr. Aarons sends an email to you Mr. Hawker and the subject

 4       line is (P) Rick, right?

 5       A.   Yeah.

 6       Q.   So the reference there is prick, right?

 7       A.   That was what we called him.

 8       Q.   That's what you called Mr. Gates, right?

 9       A.   Yes.

10       Q.   Okay.   And Mr. Aarons told him, "We've left a voice mail

11       saying that we've taken a decision to pull out our team" -- I'm

12       sorry -- "pull our team out tomorrow, if we again see no sign

13       of a transfer in our bank account," right?

14       A.   Yes.

15       Q.   And further down, in the next paragraph, at the end, it

16       says, "They are still pushing for Pshonka to sign our contract.

17       But another option is for us to be a subcontractor of Skadden,"

18       right?   You later learned that Mr. Gates had not checked with

19       Skadden about that?

20       A.   It was a bit of an omission.

21       Q.   Pardon?

22       A.   It was a bit of omission.

23       Q.   On the part of Mr. Gates?

24       A.   Yeah, he definitely hadn't discussed it with Skadden.

25       Q.   And then if you look at the last paragraph of this email,
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 103 of 158      1305


 1       the last big paragraph, he thought it was okay.          So, what

 2       Mr. Aarons is saying is he thought it was okay that Skadden's

 3       name will now get out.      And he said that the president already

 4       had leaked it a week ago, when the Council of Europe people

 5       visited.     Rick feels a lot of their critics should welcome a

 6       Skadden review, it was only Skadden that wanted to keep it

 7       quiet, right?

 8       A.   Quite rightly.

 9       Q.   So, was it your understanding, too, that Skadden really

10       wanted to stay kind of under the radar and do their

11       investigation and do their report, and some folks in the

12       Ukraine government thought that they wanted to announce that

13       Skadden had been retained?

14       A.   I don't -- you know, I can't speculate on whether they did

15       or not, but the feeling I had is they hired Skadden for a

16       reason, and so they wanted it out.

17       Q.   Okay.

18       A.   I have no evidence.

19       Q.   Okay.    Now, if you look at the next email up, this is your

20       response to Mr. Aarons, on May the 24th.         And you said, "So he

21       effectively admitted lying to us about the bank transfer.           He

22       said that had been arranged for last Friday," right?

23       A.   Yes.

24       Q.   So Mr. Gates had told you that there was a wire transfer

25       coming, or some funds were coming, and they didn't come, right?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 104 of 158    1306


 1       A.   Yeah.   You know, we -- we felt that, you know, trying to

 2       get, you know, the money delivered by Mr. Gates, that he had

 3       promised, was a bit like trying to grab eels with your hands;

 4       you think you've got it, you look down and there's nothing

 5       there.

 6       Q.   If we go to the first page of this email exchange on May

 7       the 24th.    Just the top email should be fine.

 8                    You and Mr. Aarons were talking about the fact that

 9       one thing you ought to consider doing is packing your bags and

10       heading back to the United Kingdom because you hadn't been

11       paid, right?

12       A.   Yeah.   I wish we had.     Yeah.

13       Q.   And on this occasion, did you stay or did you go?

14       A.   We definitely left on one occasion.        But, you know, this

15       happened a few times, so I don't know.

16       Q.   All right.   Now, let's look at Defendant's Exhibit 49.      It

17       should be the next document in the same book.

18       A.   Yeah, got it.    Sorry.    Can I move this one now, then?

19       Q.   And let's start on the second page of this document.

20       There's a long email from Mr. Aarons?

21                    MR. CAMPOAMOR-SANCHEZ:      Can we approach?

22                    MR. MURPHY:    I'm sorry?

23                    THE COURT:    Mr. Campoamor-Sanchez has asked to

24       approach the bench.       So you should come, too.

25                    MR. MURPHY:    I'm sorry.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 105 of 158     1307


 1                  MR. CAMPOAMOR-SANCHEZ:      So it's another email with

 2       the complaints with Mr. Gates.       I don't -- I would like this

 3       witness to be finished today.       This has already been covered.

 4       He has expressed his feelings to Mr. Gates.         This seems

 5       cumulative to me.     I would like to see if we can cut this down

 6       so we can get to the rest of your cross.

 7                  MR. MURPHY:     Fine.

 8                  THE COURT:    He gets to do what he wants to do.       If

 9       he's belaboring a point or beating a dead horse, that's his

10       risk, I guess.    There's some number of times that we don't need

11       to do the same thing.      But if you're moving on, I'm going to

12       lets him ask him his questions.       I think we've brought out

13       already on direct and cross that there was tremendous

14       frustration with Rick Gates and money.        But I don't think that

15       asking another question about it is objectionable.

16                  I will say that some of your questions have many

17       component parts and that makes it difficult for the witness to

18       answer.   So, if you could try -- there's just been some, you

19       know, really compound questions that haven't been objected to,

20       that it's hard to know what the parties are agreeing with and

21       objecting to.

22                  Thank you.

23                  (Open court:)

24                  THE COURT:    Is there something else?       No?

25                  (Bench discussion:)
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 1                    MR. MURPHY:   I do want to ask just about this one

 2       reference right here (indicating.)

 3                    THE COURT:    I don't know, is there a conversation

 4       with me?     Or are you having a conversation with each other?

 5       Where is it?

 6                    MR. MURPHY:   (Indicating.)

 7                    MR. CAMPOAMOR-SANCHEZ:    If that's what he wants to

 8       do, that's fine.

 9                    MR. MURPHY:   Okay.   Thanks.

10                    (Open court:)

11       BY MR. MURPHY:

12       Q.   Looking at Defendant's Exhibit 49, Mr. Hawker.

13                    This has to do with, among other things, the fact

14       that you hadn't yet been paid on May the 24th?

15       A.   Yes.

16       Q.   Gates is saying you're going to be a subcontractor to

17       Skadden?

18       A.   Yeah.

19       Q.   And you responded at one point to Mr. Aarons, "Presumably,

20       the A-hole didn't call us," right?

21       A.   You know, we Brits have a sort of funny sense of humor and

22       we're always joking and, you know, we're just having a bit of a

23       giggle about a difficult situation.

24       Q.   Okay.    Well, we have a sense of humor over on this side of

25       the Pond, too.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 107 of 158      1309


 1       A.   Yeah, you have, you got a sense of humor over here.          But, I

 2       think ours is a bit odd to many Americans.         So...

 3       Q.   All right.

 4                     Let's look at Government's Exhibit 151.

 5                     And if we start --

 6       A.   Sorry.

 7       Q.   If we start at the second page, at the bottom.

 8       A.   Did you say 151?

 9       Q.   I did.    Government Exhibit 151.

10       A.   Oh.   Sorry.   Yes.   Sorry about that.

11       Q.   Okay.    Now, this was Mr. Aarons wrote a long email to

12       Mr. Craig, copying Mr. Riley and you and Matthew Cowie of

13       Skadden about the Ukraine engagement.        That begins at the

14       bottom of the second page of the exhibit.

15                     Do you see that?

16       A.   I see it, yep.

17       Q.   And Mr. Aarons said, "We've now been informed by Rick Gates

18       at Davis Manafort that the decision has been taken for us to

19       contract with your firm, rather than with any Ukrainian

20       government entity," right?

21       A.   Yeah.

22       Q.   And then, if we go to the bottom of the first page, there

23       is an email from Mr. Craig to Mr. Reilly, which you eventually

24       got a copy of.

25                     And Mr. Craig said, on May the 29 th, "I don't know
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 1       where the Skadden subcontract idea came from.          I have been

 2       clear that we cannot run close to the FARA line, and if we were

 3       seen as hiring and directing FTI, we would be doing much more

 4       than just lawyering.     I think Manafort has to sort this out,"

 5       right?

 6       A.   Absolutely right.

 7       Q.   Okay.   And then Mr. Riley responded to Mr. Craig in saying,

 8       "As an FYI, as it relates to FARA, we" -- that would be FTI --

 9       "are taking a position at this time that our work in Europe and

10       Brussels, in particular, does not require us to file under FARA

11       at this time," right?

12       A.   Yes.

13       Q.   Okay.   And then Mr. Aarons comments that -- at the top.

14                    "Thanks.   It's a mess, but it's good to have his

15       support."

16                    And that was a reference to Mr. Craig, right?

17       A.   Yes, it was.

18       Q.   Okay.   Let's look at Government Exhibit 161.        You were

19       shown this yesterday.

20                    This is the June 15th email from Mr. Aarons to you,

21       copied to Mr. Ross Hall?

22       A.   Yeah.   He was one of our colleagues.

23       Q.   He was one of your colleagues.

24                    It's called -- the subject line is, "Strategy

25       Document for Prick Gates," right?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 109 of 158   1311


 1       A.   I'm afraid it was a routine name for the man.

 2       Q.   You and Mr. Aarons had worked out a preliminary strategy

 3       plan for the publication of the Skadden Report, right?

 4       A.   I had worked out the plan and I'd sent it to Aarons to sort

 5       out my typos, which I'm famous for, and to add a bit to it.

 6       Q.   Okay.   And if we look at the second page, top half.

 7                    You had written in the third paragraph, "On the

 8       current timeline, as we understand it, both the trial in the

 9       tax fraud case" -- that's Tymoshenko 2 -- "and the appeal in

10       the gas case are scheduled to be heard in the last week of

11       June, as the European 2012 soccer tournament was reaching its

12       climax," right?

13       A.   Yeah.

14       Q.   "These events will proceed by only a few days the delivery

15       of the final report by Greg Craig and his team to the minister,

16       which will then be available for release to the media,

17       stakeholders, and the Ukrainian people," right?

18       A.   That's right.

19       Q.   So, that shows you're thinking that, at the time, the

20       Report might come out as early as late June or early July?

21       A.   That's absolutely right.

22       Q.   Okay.   The bullet points that are listed by you below --

23       A.   Yeah.

24       Q.   -- these are part of the communication strategy that you

25       believed was consistent with what the Ukraine wanted; isn't
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 110 of 158   1312


 1       that right?

 2       A.   Yes, definitely.

 3       Q.   So the Ukraine wanted to say that the Report will conclude

 4       that the trial was valid and that the crime was committed?

 5       A.   This is only coming from Ukraine.

 6       Q.   Only.    And you heard that from the people in the

 7       prosecutor's office?

 8       A.   And from the Davis Manafort people.

 9       Q.   Okay.

10       A.   Which, in this stage, it's only Gates.

11       Q.   All right.

12       A.   I'll leave out the first name.

13       Q.   So Mr. Gates and the folks that you're dealing with in the

14       prosecutor's office are telling you, "This report will conclude

15       that the trial was valid and the crime was committed," right?

16       A.   Yeah.    I'm probably being a bit more emphatic, but this is

17       what they expected and hoped.

18       Q.   You also wrote down that "Skadden will be unwilling" -- the

19       last bullet point -- "Skadden will be unwilling to take the

20       lead in communications, given their desire to avoid FARA

21       registration and disclosure," right?

22       A.   That's referring to what I had heard from Mr. Craig.

23       Q.   Well, you heard it because Mr. Craig said it to Mr. Riley,

24       right?

25       A.   No.   He said it -- yes.     Yes, you're absolutely right, it
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 111 of 158     1313


 1       was in an email exchange with Mr. Riley.

 2       Q.   Right.    The May 29th email Mr. Craig sent --

 3       A.   I'm sorry, I don't remember the specific --

 4                     THE COURT:    Okay.   You're talking over each other.

 5                     MR. MURPHY:   All right.

 6                     THE COURT:    So, Mr. Murphy, if you ask him a

 7       question, you need to wait for him to answer.

 8       BY MR. MURPHY:

 9       Q.   You said on direct that the Skadden Report was a public

10       relations tool, and that your role at FTI was to promote it in

11       Europe as part of an effort for the Ukraine to become more

12       aligned with the European Union, right?

13       A.   Yeah.    You know, so -- the situation was that, you know, we

14       had a president who needed a lot of money, who had run out of

15       money.    There were two potential sources of money:        One was the

16       European Union through associate member status; the other one

17       was Russia.     The idea was to try to pull the Ukraine government

18       towards the European Union so they would get funds.

19       Q.   Do you know whether Mr. Craig and Mr. Sloan and Mr. Kedem

20       and the others working on the Report viewed it as a public

21       relations tool, or not?

22       A.   I've absolutely no idea what they thought.         I can't speak

23       for them, I'm afraid.       And I haven't heard one of the names

24       before.

25       Q.   Let's take a look at Defense Exhibit 77.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 112 of 158     1314


 1       A.   Yes.   Sorry.

 2       Q.   All right.

 3                   MR. MURPHY:    If we look at the page -- second page.

 4       And kind of just blow up the top part of that email.

 5       BY MR. MURPHY:

 6       Q.   Mr. Aarons was sending an email to Mr. Gates.         This is now

 7       the 6th of July in 2012.

 8                   MR. CAMPOAMOR-SANCHEZ:     9.

 9                   MR. MURPHY:    Sorry.

10                   THE COURT:    The email you were looking at originally

11       was the 9th, but, now, there's one from the 6th.

12                   Which one are you talking about?

13                   MR. MURPHY:    On page 2, the email from Mr. Aarons

14       dated the 6th of July.

15                   THE COURT:    Okay.

16       A.   I'm with you.

17       BY MR. MURPHY:

18       Q.   And the subject matter is, "Asset Tracing."

19       A.   Yes.

20       Q.   Was that another project that FTI was interested in if --

21       in the event that the Ukraine was seeking to try to collect

22       damages from Ms. Tymoshenko, that you would assist in finding

23       those assets and helping to trace them?

24       A.   Yes.   So, the Ukrainian position was that Ms. Tymoshenko

25       had stolen money that was the property of the people of
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 113 of 158    1315


 1       Ukraine, and that they wanted to bring proceedings in other

 2       jurisdictions in order to try to recover those funds for the

 3       people of Ukraine.

 4       Q.   One of the questions Mr. Aarons asked in the second line

 5       was, "Any update on the Skadden Report," right?

 6       A.   Yes, I can see that.

 7       Q.   And then on the first page of the email string, at the

 8       bottom, from Aarons to Gates, with a copy to you, Mr. Hawker,

 9       he said, "We just ran into Matt Cowie of Skadden, who is in

10       Kyiv on another job.     He says that Greg Craig will be out here

11       next week.    Can you say when we will get to see a draft copy of

12       the Report and update us generally, as we have not heard from

13       you since last Tuesday," right?

14       A.   Yes.

15       Q.   So that's Mr. Aarons trying to get some information about

16       when you might see the Report?

17       A.   Yeah.   We were itching to get going.       Because, remember,

18       the publication date has been pushed back, and we're kind of

19       expecting it imminently.

20       Q.   We look at, next, Defendant's Exit 78, which is the next --

21       should be the next document.

22                    At the bottom, you, on July the 12th, said that "The

23       Skadden Report is going to come out on Monday, July the 23rd."

24                    So, this is now a second release date, right?

25       A.   Yep.    Ever the optimist.
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 1       Q.   And Mr. Aarons said to you, on July the 12th, "Jeez, let's

 2       hope we get to see a draft soon," right?

 3       A.   Yeah.    You have to read it with a Rick Gates' voice, and

 4       you'll get it, yeah.

 5       Q.   So, you still hadn't seen it?

 6       A.   We hadn't seen it, I don't think, at this stage.            I saw it,

 7       I think, at the end of July.

 8       Q.   Now, let's take a look at Government's Exhibit 189.           It

 9       should be in the same book that you were just looking at, I

10       think.

11       A.   No.    I got it, though.   I'm with you.

12       Q.   All right.    Government Exhibit 189.

13                    MR. MURPHY:   It's been admitted.

14       BY MR. MURPHY:

15       Q.   This is an email from Mr. Gates to Mr. Aarons and you and

16       Mr. van der Zwaan, dated July the 28th of 2012, right?

17       A.   Yes.

18       Q.   And he says, "Guys, Here is the revised media plan.           Please

19       review and provide comments.       But let's schedule a call to

20       discuss.     No discussions via emails."

21                    And you'd told us earlier that Mr. Gates had this

22       tendency to want everything to be done in secret, sort of

23       clandestine communication, right?

24       A.   Yes.    He's --

25                    MR. CAMPOAMOR-SANCHEZ:    Objection.
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 1                     THE COURT:   Overruled.

 2       BY MR. MURPHY:

 3       Q.   Mr. Gates attached a memorandum from SL to PJM.

 4       A.   No.    It's the other way around.     Sorry.   It's to SL from

 5       Manafort.

 6       Q.   From PJM.    PJM is Paul Manafort, right?

 7       A.   Yes.

 8       Q.   And "SL" is Serhiy Lyovochkin, right?

 9       A.   Yes.

10       Q.   Serhiy Lyovochkin was the chief of staff for

11       President Yanukovych?

12       A.   Yeah, their client.

13       Q.   Pardon?

14       A.   The Manafort client.

15       Q.   Right.

16       A.   So, you know, like I had to work with Gates, SL was their

17       conduit to the government.

18       Q.   Right.

19                     Now, Mr. Gates had sort of taken it upon himself to

20       make some revisions in the format to the plan that you guys had

21       drafted up, right?

22       A.   Yes.

23       Q.   And then Mr. Manafort communicates that to the chief of

24       staff of the President.      And if you look at the third page of

25       the exhibit, the bullet points on the media strategy on the
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 1       plan.

 2                   It says, "The Report will conclude that the trial was

 3       valid and that the crimes were committed by Yulia Tymoshenko,

 4       but that some irregularities existed, not in line with Western

 5       juris prudence."

 6       A.   Yes.

 7       Q.   It also said, in the last point, Skadden -- "SA" -- Skadden

 8       Arps -- "cannot proactively lead in communications, giving

 9       their restrictions by FARA registration and disclosure," right?

10       A.   Yes.

11       Q.   Same bullet point as appeared before?

12       A.   It's absolutely in the same bullet point, yes.

13       Q.   And then in Item 6 of the Report release discussion, at the

14       bottom of the same page, it says, "A small number of

15       international journalists shall be briefed in advance of the

16       publication of the Report, under strict embargo, and formally

17       contacted by the MOJ press team, with support from the AC team

18       on behalf of the MOJ."

19                   Now, the MOJ is the Ministry of Justice, right?

20       A.   Yes, it is.

21       Q.   And the AC team, was that the anti-crisis team that

22       Mr. Manafort and Gates refer to?

23       A.   It may be.    I don't remember the term.

24       Q.   One of the things that this says is that "Note, need to

25       discuss with PJM.     One possibility is to have the FTI AC team
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 117 of 158       1319


 1       do the outreach on behalf of Skadden," right?

 2       A.   Yes.

 3       Q.   And that's because of the concern up above, that Skadden

 4       was not going to be able to lead in communications, right?

 5       A.   That's absolutely right.

 6       Q.   Now, under the next page, there's a section called Post

 7       Report Release, Item 8.

 8       A.   Yes.

 9       Q.   There's a reference to Greg Craig.

10                   "Greg Craig will need to do briefings and interviews,

11       groups, and one-on-ones with key stakeholders in the

12       attachment, as specified below.       Greg Craig will not initiate

13       these briefings, but it will be done through FTI and the AC

14       team in key targeted cities," right?

15       A.   Yes.

16       Q.   Now, the stakeholders that are referred to, that's the

17       politicians; is that right?

18       A.   Probably, yes.

19       Q.   The next item says, "A private briefing with Greg Craig

20       should be offered to Cox and Kwasniewski," right?

21       A.   Yes.

22       Q.   Cox was a UN official?

23       A.   I can't remember their specific titles.        But, they were

24       people who were, like, special rapporteurs or monitors for

25       human rights.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 118 of 158    1320


 1       Q.    Right.    Kwasniewski was the former president of Poland?

 2       A.    Yes, he was the president -- former president of Poland.

 3       Q.    Mr. Craig didn't do, as it turned out, either of these

 4       things, did he?

 5       A.    He did not.

 6       Q.    Item 10.    "A private briefing should be offered to the

 7       Ukranian Commissioner for Human Rights, a fluent English and

 8       German speaker."

 9                      Mr. Craig never did a briefing with that person, did

10       he?

11       A.    He didn't.    No.

12       Q.    Item 11 refers to "Special attention being given to the

13       German and Russian media, as well as journalists previously

14       briefed by the first deputy procurator general on his media

15       tours in major European cities.       Consideration should be given

16       to Greg Craig visiting Moscow for one roundtable briefing with

17       a group of leading correspondents covering Ukrainian matters

18       from there.

19                      "Similarly, he should do a roundtable in Berlin for

20       interviews with selection of the most influential

21       commentators," right?

22                      Mr. Craig never did any of those things, did he?

23       A.    No.   All terrific ideas, but he did not do any of this.

24       Q.    Because he wasn't willing to, was he?

25       A.    This was based on the -- you know, the hypothetical
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 119 of 158         1321


 1       strategy that was produced by me at the request of Rick Gates,

 2       saying, "If you had a free hand."

 3                    So, no, he definitely did not do any of this.

 4       Q.     And would you say that this was sort of a wish list?

 5       A.     Definitely a wish list.

 6       Q.     Now, let's look at Government Exhibit 207, quickly.           It's

 7       an email from you to Mr. Gates, with a draft plan attaching

 8       this master control plan, d1.

 9                    It's a fairly fat document, right?

10       A.     It's too long.

11       Q.     I think you said on direct yesterday that there were, like,

12       18 versions of this media plan?

13       A.     I think there were.    But, maybe, you know -- there was

14       certainly lots of versions, but 18 springs to mind.              But, that

15       may be the messaging.       But, whatever it is, there were a hell

16       of -- sorry -- there was a lot of them.

17       Q.     Isn't it true that the only one that was ever sent to

18       Mr. Craig was the one that you sent to him the night before the

19       meeting at the Harvard Club?

20                    MR. CAMPOAMOR-SANCHEZ:    Objection to the form of the

21       question.

22                    THE COURT:   The only one that you sent to Mr. Craig.

23       Do you know?

24                    THE WITNESS:    I can't tell you how many I sent or

25       not.    But, I can tell you that he did not receive anything
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 120 of 158   1322


 1       until just before the Harvard Club.

 2       BY MR. MURPHY:

 3       Q.   All right.   So up until the Harvard Club meeting, and just

 4       before it, he had not received any of the versions of the media

 5       plan?

 6       A.   No, he hadn't received.

 7                  MR. CAMPOAMOR-SANCHEZ:      Objection to the form.

 8                  THE COURT:    He said he didn't send any.

 9       BY MR. MURPHY:

10       Q.   You didn't send him any?

11       A.   I didn't send him any.

12                  Sorry.    Let me rephrase that.

13                  I did not send Mr. Craig any copies of this until

14       just before the Harvard Club.

15       Q.   And you had not discussed the elements of this media plan

16       with Mr. Craig before the Harvard Club meeting, had you?

17       A.   I had had no discussions -- sorry.

18                  I had no discussions with Mr. Craig about any of this

19       until just before Harvard and/or at Harvard.

20       Q.   You were the person at FTI that was principally involved in

21       preparing these plans, right?

22       A.   I certainly was.

23       Q.   And you did not receive input from Mr. Craig about what the

24       plans should or should not say or include, did you?

25       A.   No.
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 1       Q.   Now, if we look at the third page of the exhibit.

 2                    And this is part of this master control grid you

 3       referred to, right?

 4       A.   Great title.

 5       Q.   A great title.

 6                    Was it your title or Mr. Gates' title?

 7       A.   No, I think it was my title, in all honesty.         But, you

 8       know, again, you got to regard it with a bit of tongue in

 9       cheek.

10       Q.   Okay.

11                    Top of page 3, first couple lines of this plan say,

12       "Share the drafts with Charlie."

13                    Now, who is Charlie?

14       A.   Charlie is the client.

15       Q.   So does that mean the Ukraine or does that mean

16       Mr. Manafort?

17       A.   No, it means Manafort's people.

18       Q.   So Mr. Manafort was code named Charlie for this project?

19       A.   Yeah.   It was more of a Gates thing.       You know, he liked

20       that sort of stuff.

21       Q.   Okay.   Now, I'm going to take a look at Exhibit 208.

22                    MR. MURPHY:   Which is in evidence.

23                    THE COURTROOM DEPUTY:    Government or defense?

24                    MR. MURPHY:   I'm sorry?

25                    THE COURTROOM DEPUTY:    Government or defense?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 122 of 158            1324


 1                  MR. MURPHY:     Oh, I'm sorry.    Government Exhibit 208.

 2       BY MR. MURPHY:

 3       Q.   I just want you to read that to yourself, Mr. Hawker.                And

 4       I just want to ask you about the conversation that

 5       Mr. van der Zwaan recounts having had with you on or about

 6       August the 7th of 2012, which is paragraph --

 7                  MR. CAMPOAMOR-SANCHEZ:      I'm sorry, Your Honor.         He's

 8       not copied on this email, as far as I know.

 9                  THE COURT:    All right.    So you're asking him to look

10       at an email, just to read an email?

11                  MR. MURPHY:     Just to read contact with FTI, Item 1.

12                  THE COURT:    All right.

13                  So there's a portion of the email that recounts a

14       conversation with --

15                  MR. MURPHY:     With Mr. Hawker.

16                  THE COURT:    -- Mr. Hawker.     All right.    You can ask

17       him about it.

18       BY MR. MURPHY:

19       Q.   Do you remember having a conversation with

20       Mr. van der Zwaan on or about August the 7th, in which he --

21       you expressed to Mr. van der Zwaan that you would like to speak

22       to Mr. Craig about the media plan for the release of the

23       Report, and would -- he would be appreciative if you, Greg,

24       could reach out to Jonathan, the sooner the better.              And he

25       will want to cover, among other issues, when he will have sight
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 123 of 158      1325


 1       of the Report.

 2       A.   I've no recollection of the discussion.         But, I spoke to

 3       him the whole time.       He was in the same hotel.

 4       Q.   So as of August the 7th, do you remember that you still

 5       hadn't seen the Report.

 6       A.   Yeah.

 7                    MR. CAMPOAMOR-SANCHEZ:     Objection.

 8                    THE COURT:    Well, do you have any recollection of

 9       when you saw the Report?

10                    THE WITNESS:    I don't recall the date.     But, I recall

11       that I was shown the Report, briefly, by Alex van der Zwaan.

12                    THE COURT:    Between that point and when you were

13       doing the media plans that you took to the Harvard Club, by the

14       time you were doing that, the Harvard Club versions of the

15       media plan, had you seen a draft report?

16                    THE WITNESS:    Yes.   I had been officially given a

17       report, but it came from Alex van der Zwaan.

18                    THE COURT:    But separate from the time that you

19       peeked at it in his --

20                    THE WITNESS:    Yes, exactly.

21                    THE COURT:    All right.   Do you know when, between

22       your first look and the Harvard Club, you actually got it?

23                    THE WITNESS:    It's in an email.    But, I don't

24       remember the date of the email.

25                    MR. MURPHY:    Your Honor, I'm going to get there.
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 1                  THE COURT:    All right.

 2                  MR. MURPHY:     But I'm proceeding chronologically.

 3                  THE COURT:    Okay.    But if you want to use a document

 4       to refresh his recollection, that's fine.         But you can't just

 5       put a document on the screen and say, "Now, you remember."

 6                  MR. MURPHY:     I understand.

 7                  THE COURT:    All right.

 8       BY MR. MURPHY:

 9       Q.   Can we look at Government Exhibit 222, please.

10                  And go to the second page of the exhibit.

11       A.   I don't have a second page.

12                  MR. MURPHY:     Let me check to see --

13                  (Pause.)

14                  MR. MURPHY:     Looks like I misnumbered my exhibit.

15       BY MR. MURPHY:

16       Q.   I want to show you the next Defendant's Exhibit, 500.

17       A.   Defendant's?

18                  MR. MURPHY:     And I think that's one --

19                  (Off-the-record discussion between counsel.)

20                  THE COURT:    Just show it, briefly, to counsel.

21       BY MR. MURPHY:

22       Q.   It's not in the book.     I'm sorry.

23       A.   Thank you.

24       Q.   Do you recognize Defendant's Exhibit 500 as an email you

25       wrote to Konstantin Kilimnik on Thursday, August the 30th?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 125 of 158        1327


 1       A.   Yes, I do.

 2       Q.   That's 2012?

 3       A.   Yes.

 4       Q.   Now, was this email written shortly after you got a look at

 5       the Report, in draft form, when you visited

 6       Mr. van der Zwaan's room?

 7                   MR. CAMPOAMOR-SANCHEZ:     Your Honor --

 8                   THE COURT:    I'm sorry?   All right.

 9                   MR. MURPHY:    Oh, I'm sorry.

10                   THE COURT:    I know.   But, I want to know, do you

11       object to its admission?

12                   MR. CAMPOAMOR-SANCHEZ:     It's part of 107.

13                   THE COURT:    All right.   Fine.

14                   Yes, please put it on the screen.

15                   MR. MURPHY:    Okay.

16                   Thank you.    Sorry.

17                   THE COURTROOM DEPUTY:      Put it on the ELMO.       You don't

18       have it electronically?      You do?   Do it.

19                   THE COURT:    All right.

20                   MR. MURPHY:    Okay.

21                   THE COURT:    You can see it?

22                   THE JURORS:    (Nod heads.)

23                   THE COURT:    Yes.   All right.

24                   Thank you.

25                   MR. MURPHY:    Okay.
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 1       BY MR. MURPHY:

 2       Q.   Defendant's Exhibit 500 is this email.        It looks like the

 3       language of the email is either Russian or Ukrainian, at least

 4       the To and the From and the Date, right?

 5       A.   That looks like Russian to me, yep.

 6       Q.   But, anyway, you wrote the email?

 7       A.   I did.

 8       Q.   Okay.    And it was addressed to Mr. Kilimnik?

 9       A.   Yes, it is.

10       Q.   And it's about -- and it's captioned Confidential Report

11       and the Media, right?

12       A.   Yes.

13       Q.   And you begin by saying, "You asked that we do two things:

14       One, summarize the key points that the media will get excited

15       about in the Report, which I'll do below.         And, two, address

16       some areas which would help us perform better, which Jon is

17       working on and I'll get to you tomorrow."

18                     That reference to Jon, I assume, is Jon Aarons?

19       A.   Yeah.

20       Q.   And then you wrote, "In terms of the media, if they read

21       the lawyer's report in the form in which I reviewed it, albeit

22       briefly and in the draft, the likely lines that they will get

23       excited about are as follows."

24                     And then you have, "Supporting her position," and you

25       have six different items there, right?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 127 of 158    1329


 1       A.   Yes.

 2       Q.   And then you have, "Supporting the prosecution's position,"

 3       and there's two items, right?

 4       A.   Yes.

 5       Q.   So you had reviewed the Report in draft form in

 6       Mr. van der Zwaan's room, where he gave you access to it.        You

 7       jotted down some notes.

 8                    And you were quite alarmed that the Report, if issued

 9       in that form, would not be consistent with the Ukraine's public

10       relations goals; is that right?

11       A.   That's absolutely right.

12       Q.   Okay.   And what you said at the bottom --

13                    THE COURT:    Is this description -- I think that was

14       your first question before we put the exhibit up.

15                    This is based on your early review and not your

16       official receipt of the working version at that point?

17                    THE WITNESS:   Yes, Your Honor.     This is based on the

18       half an hour or so that Alex van der Zwaan left it on his desk

19       in his bedroom and told me to have a quick read and make some

20       notes, you know, before he returned.

21                    THE COURT:    All right.   All right.

22                    MR. MURPHY:    Your Honor, if I haven't moved Exhibit

23       500 into evidence, I so move.

24                    THE COURT:    All right.   Any objection?

25                    MR. CAMPOAMOR-SANCHEZ:     No objection.
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 128 of 158        1330


 1                   THE COURT:    Okay.   It will be in evidence.

 2       BY MR. MURPHY:

 3       Q.   And in the last paragraph of your message to Mr. Kilimnik

 4       you said, "In my view, it is likely that the media and many in

 5       the political communities will accelerate their call for a

 6       retrial, based on the Report's findings, and will present the

 7       points above as support from that perspective.          We must not

 8       forget that this is the position many in the media will want to

 9       convey, as it suits their agenda as conveyed in previous

10       stories.    The prosecution points will not mitigate their story,

11       and even the strong point about summary contempt will likely

12       not feature at all."

13                   That was your conclusion, right?

14       A.   Yes.

15       Q.   Now, did Mr. Kilimnik tell you that he was aware of your

16       concerns about the Report because someone had overheard your

17       telephone conversations?

18                   MR. CAMPOAMOR-SANCHEZ:     Objection as to what

19       Mr. Kilimnik said.

20                   THE COURT:    I'm sorry?

21                   MR. CAMPOAMOR-SANCHEZ:     To what Mr. Kilimnik said.

22                   THE COURT:    All right.   Approach the bench.

23                   You're objecting on hearsay grounds?

24                   MR. MURPHY:    Let me try to rephrase it.

25       BY MR. MURPHY:
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 129 of 158     1331


 1       Q.   Did you learn, Mr. Hawker, that someone had been listening

 2       in on your telephone conversations?

 3                   THE COURT:    That's kind of the same question.      Let's

 4       approach.    Just want to make sure I understand the objection.

 5                   (Bench discussion:)

 6                   MR. CAMPOAMOR-SANCHEZ:     It's hearsay and I don't

 7       understand the relevance, the relevance with respect to what he

 8       understood.

 9                   THE COURT:    You're asking what Mr. Kilimnik told him;

10       you objected.    You asked him, did you learn it?        Presumably he

11       learned it through Mr. Kilimnik.

12                   MR. MURPHY:    Or Mr. Gates.

13                   THE COURT:    Well, if Mr. Gates has personal knowledge

14       about it, you can ask Mr. Gates.       I don't understand -- what

15       are you trying -- where are we trying to go here?

16                   MR. MURPHY:    Just to establish that while he's

17       working in the Ukraine, working in the Ukraine, there's a

18       concern that the Ukranians are listening to all of his

19       conversations.

20                   THE COURT:    You're sort of suggesting -- you said,

21       Did you learn that they were.       And do we have evidence of that

22       one way or the other?

23                   MR. MURPHY:    He talks about it in several of his

24       302s.   He, Mr. Hawker.

25                   THE COURT:    What does that have to do with anything?
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 130 of 158     1332


 1                    MR. MURPHY:   Well --

 2                    THE COURT:    If you can't even articulate the

 3       relevance, then let's just go on to something else.

 4                    MR. MURPHY:   Your Honor, it has --

 5                    THE COURT:    I wasn't being facetious.

 6                    MR. MURPHY:   It really has to do with the whole tenor

 7       of the project over there and that the Ukrainians are very,

 8       very upset and concerned about what's in the Report, to the

 9       extent that they're listening in on his phone conversations.

10                    THE COURT:    They could be listening in on everybody's

11       phone conversations.

12                    MR. MURPHY:   Then Kilimnik approaches him to say

13       we're very upset to hear you're very upset.         Tell us what it's

14       all about.

15                    THE COURT:    I don't think that that element adds

16       anything to anything.      You've certainly gone through every

17       single document; what one report would say, what they hoped it

18       would say.    That's the point.      So let's just leave it there.

19                    MR. MURPHY:   All right.    Thank you.

20                    (Open court:)

21       BY MR. MURPHY:

22       Q.   I just want to show you, Mr. Hawker, Defendant's Exhibit

23       514, which is another one I'll have to show you in hardcopy

24       form.

25                    THE COURT:    Just for timing purposes, Mr. Murphy,
     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 131 of 158       1333


 1       where do you think you are in terms of time in your

 2       cross-examination?

 3                   MR. MURPHY:    Oh, I have a couple hours, at least,

 4       left, Your Honor.

 5                   THE COURT:    All righty.    Let's try to go for about

 6       ten more minutes, then we'll break for lunch.          And maybe over

 7       lunch you can think about having it not be how many more hours

 8       after lunch.

 9                   MR. MURPHY:    We'll pass it for now.

10                   THE COURT:    All right.    Would this be an opportune

11       time to break for lunch, or would you rather go for ten more

12       minutes?

13                   MR. MURPHY:    I would rather go for just -- well, no.

14       Let's take a lunch break.      That's fine.

15                   THE COURT:    All right.    That's what we're going to do

16       then.    I'm sure no one will be disappointed.

17                   So I ask you please leave your notebooks on the

18       table.

19                   This case is nowhere close to being submitted to you

20       for decision, so you should not discuss it while you're having

21       lunch.   You should just enjoy your lunch.        So we'll -- it's

22       about 12:35, we'll resume at 1:45.        So please be back in the

23       jury room about five minutes before that.         And please don't

24       discuss the case among yourselves or with anybody else during

25       that period of time.
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 1                  You're excused and enjoy your lunch.

 2                  (Whereupon the jurors leave the courtroom.)

 3                  THE COURT:    All right.        Everyone else is excused and

 4       we'll be back at 1:45.

 5                  MR. MURPHY:     Thank you.

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     Case 1:19-cr-00125-ABJ Document 140 Filed 09/10/19 Page 133 of 158   1335


 1

 2                    CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                 I, JANICE DICKMAN, do hereby certify that the above

 6       and foregoing constitutes a true and accurate transcript of my

 7       stenograph notes and is a full, true and complete transcript of

 8       the proceedings to the best of my ability.

 9                             Dated this 20th day of August, 2019.

10

11

12                                   /s/________________________

13                                   Janice E. Dickman, CRR, RMR, CRC
                                     Official Court Reporter
14                                   Room 6523
                                     333 Constitution Avenue NW
15                                   Washington, D.C. 20001

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                           $                186 [2] - 1253:13, 1253:17                     3
                                            189 [2] - 1316:8, 1316:12
        $300,000 [1] - 1294:11              18th [3] - 1278:22, 1279:9,     3 [8] - 1213:24, 1213:25,
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